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                             COMMONWEALTH OF PENNSYLVANIA
                         OFFICE OF ATTORNEY GENERAL
 JOSH SHAPIRO
ATTORNEY GENERAL


                                                               October 10, 2018
The Honorable Robert D. Mariani
U.S. District Court, Middle District of Pennsylvania
William J. Nealon Federal Bldg. & U.S. Courthouse
235 N. Washington Avenue
Scranton, PA 18503

      Re:   Commonwealth of Pennsylvania v. Navient Corporation et al, No.
            3:17-cv-01814-RDM
Dear Judge Mariani:
       Thank you for your time today on our telephonic conference call regarding
the Privacy Act discovery dispute referenced in the Commonwealth’s August 17,
2018 letter (Document 35). As you requested, the Commonwealth writes to submit
the order and transcript from a recent hearing on the State of Washington’s motion
to compel similar student loan borrower data from Navient in the case of State of
Washington v. Navient Corporation, et al., Case No. 17-2-01115-1 (King County
Sup. Ct.). At this hearing, the Court ordered Navient to produce the requested data
to the State of Washington, rejecting many of the same arguments that Navient
made on today’s conference call. Enclosed please find a copy of the court’s order
and transcript, with a discussion of the Privacy Act dispute on pages 5-18.
       On today’s call you also inquired as to whether either party was aware of a
precedent regarding Navient’s argument that it should not be ordered to produce
the data because it does not have legal ownership of the data. On page 7 of the
enclosed transcript, the attorney for the State of Washington references such a
case: In re Bankers Trust Co., where the Sixth Circuit held that actual possession,
custody or control (not legal ownership) was determinative under FRCP 34(a). See
In re Bankers Trust Co., 61 F.3d 465, 469-471 (6th Cir. 1995) (holding that records
legally owned by the Federal Reserve but in the actual possession of a bank were
subject to discovery from the bank rather than the Federal Reserve).

                                       Respectfully,
                                       /s/ Nicholas Smyth



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Enclosures:                                                             Page

Exhibit A: State of Washington v. Navient Corp. et al., Case No. 17-2-01115-1
           (King County Superior Court), Verbatim Transcript from Recorded
           Proceedings Before the Honorable Veronica Alicea-Galvan,
           September 21, 2018...…………………………………………………3

Exhibit B: State of Washington v. Navient Corp. et al., Case No. 17-2-01115-1
           (King County Superior Court), Order Granting State of Washington’s
           Motion for an Order Compelling Production of Documents,
           September 21, 2018………………………………………………….65

Exhibit C: In re Bankers Trust Co., 61 F.3d 465 (6th Cir. 1995)……………….68




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         Exhibit A




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            IN THE SUPERIOR COURT OF THE STATE OF WASHINGTON

                     IN AND FOR THE COUNTY OF KING
      _______________________________________________________
                                    )
      STATE OF WASHINGTON,          )
                                    )
              Plaintiff/petitioner, )
                                    ) King County Superior Court
                 v.                 ) No. 17-2-01115-1 SEA
                                    )
      NAVIENT CORPORATION, et al., )
                                    )
              Defendant/Respondents )
      _______________________________________________________


             Verbatim Transcript from Recorded Proceedings
                 Before The Honorable Veronica Alicea-Galvan
      _______________________________________________________
                              September 21, 2018
                            King County Courthouse
                             Seattle, Washington




      TRANSCRIBED BY:     Grace Hitchman, AAERT, CET-663


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  1
  2                         A P P E A R A N C E S
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  1        (The Honorable Veronica Alicea-Galvan presiding)
  2                   (Friday, September 21, 2018)
  3                                --o0o--
  4             (Recording begins 9:59 a.m.)
  5             THE COURT:    Good morning, everyone.     You may be
  6   seated.    This is Washington v. Navient, 17-2-01115-1 SEA.
  7             A couple of things before we begin.       I'm going to
  8   listen to argument in this case.        With regard to any issues
  9   that I have not fully decided at the conclusion of the
 10   argument, those issues will be rendered in a written
 11   opinion.   So I just kind of want to let -- there's a lot of
 12   balls in the air on these matters, and I want to make sure
 13   that I have those spelled out accordingly.
 14             So with that in mind, let's note the appearances for
 15   the record.   On behalf of the state of Washington, please?
 16             MR. ROESCH:    Good morning, Your Honor.      Benjamin
 17   Roesch, assistant attorney general.
 18             MS. SMITH:    Good morning, Your Honor.      Shannon
 19   Smith, assistant attorney general.
 20             THE COURT:    Good morning.
 21             MS. LEVY:    Good morning, Your Honor.     Jennifer Levy
 22   from Kirkland and Ellis, Navient.
 23             MS. SILVERMAN:   Good morning, Your Honor.       Kristin
 24   Silverman from Calfo Eakes for defendant.
 25             MR. SHUMSKY:   Good morning.     Mike Shumsky from


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  1   Kirkland and Ellis for Navient defendant.
  2           MS. BEEBE:    Good morning.     Lauren Beebe from
  3   Kirkland and Ellis.
  4           THE COURT:    Okay.    So in terms of making this as
  5   easy as it can be, I received two different sets of motions
  6   to take judicial notice of adjudicative facts.          As those
  7   issues pertain to the 12(c) motion, I can let you know that
  8   there's going to be some facts that the Court takes notice
  9   of and others that the Court does not take notice of because
 10   it doesn't help the Court.
 11           In terms of argument, I'm going to allow the State
 12   to present their 12(c) motion on certain defenses first, and
 13   then we'll hear from respondent on those issues.          And then
 14   I'll hear your rebuttal arguments.
 15           With respect to -- then we'll go to respondent's
 16   12(c) motion.    We'll hear from your response and then we'll
 17   hear their rebuttal.
 18           So I'm going to try to keep these as contained as I
 19   can, even though I know that they spill into each other
 20   significantly.
 21           So -- and with regards to the motion to compel, now,
 22   was I correct in that the parties requested oral argument on
 23   the motion to compel?
 24           MR. ROESCH:    Your Honor, Navient requested oral
 25   argument.


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  1           THE COURT:    Okay.    All right.    So let's start with
  2   that motion.    And then we'll get to the 12(c) motions.
  3           MR. ROESCH:    Good morning, Your Honor.        As I
  4   indicated before, my name is Ben Roesch, here on behalf of
  5   the State.
  6           The State's motion to compel seeks production of
  7   specific borrower files.      These data include personally
  8   identifying information for those borrowers.         These
  9   borrowers have, by the way, all submitted complaints either
 10   to the Consumer Financial Protection Bureau, to the
 11   Washington attorney general's office, or to the Better
 12   Business Bureau.    And I can say with about 99.9 percent
 13   confidence -- only because I didn't review my records this
 14   morning -- that we have, in fact, interviewed all of these
 15   borrowers.
 16           Although the motion to compel presents some sort of
 17   novel arguments in terms of federal law, these issues are
 18   actually very straightforward.       The objections to production
 19   fall under three general categories.        First, we have the
 20   federal Privacy Act.     Second, we have Navient's contract
 21   with the Department of Education, and third, we have a
 22   suggestion that it would be more convenient all around if
 23   the State instead sought these documents through the Touhy
 24   regulations that the Department of Education has
 25   promulgated.


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  1           Your Honor, let's address these in turn.          First, in
  2   terms of the Privacy Act, the act itself in 5 USC
  3   552a(b)(11) allows production pursuant to an order of a
  4   court with competent jurisdiction.       There isn't an argument
  5   in this case that the Court doesn't have competent
  6   jurisdiction.   There is personal jurisdiction over the party
  7   from whom production is sought, and certainly the Court has
  8   subject matter jurisdiction.       And as such, the In Re Tucker
  9   court was very explicit that this Court is the best suited
 10   entity to determine whether the Privacy Act applies and
 11   whether production should be made.
 12           The regulations implementing those -- that section
 13   are not to the contrary.     Both the national archives and
 14   their Department of Education's regulations both have an
 15   exemption from the general prohibition on disclosure that
 16   quotes that provision verbatim.
 17           And, in addition, the Department of Education's
 18   regulation at 34 CFRb(2)(d)(5) specifically provides that
 19   the Privacy Act regulations aren't about whether documents
 20   or data are made available to parties in litigation.              It
 21   says, quote, the availability of such records to the general
 22   public or to any subject individual or party in such
 23   litigation or proceedings shall be governed by applicable
 24   constitutional principles, rules of discovery, and
 25   applicable regulations of the Department.


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  1           The case law is quite clear that there is no
  2   privilege that arises out of the Privacy Act or its
  3   regulations.    And, in fact, discovery can be had through the
  4   ordinary court processes.
  5           Second, Your Honor, Navient suggests that its
  6   contract with the Department of Education prohibits
  7   production in this case.      Generally, as you know, parties
  8   aren't allowed to escape the operation of the Rules of Civil
  9   Procedure simply by contracting around them, and that's
 10   certainly not the case here.        First of all, Navient explains
 11   that the contractual provisions requesting prior consent
 12   from the Department are there to implement the protections
 13   of the Discovery Act.     Well, because the Discovery Act
 14   contains this exemption, which clearly applies in this case,
 15   the contract neither explicitly nor implicitly authorizes
 16   the withholding of these documents.
 17           In addition, the Bankers Trust case explained the
 18   legal ownerships of the documents it not determinative.             And
 19   there's no dispute here, I don't believe, that Navient has
 20   possession of the data that's been requested.
 21           Finally, Your Honor, there's an argument that the
 22   Department's Tuohy regulations suggest it to be more
 23   convenient for the Court to require us to go to the
 24   Department of Education.      The Tuohy regulations, first of
 25   all, by their own terms, don't purport to apply here.              They


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  1   apply where documents are, in fact, sought from the
  2   Department of Education, its employees, or its special
  3   employees, and that's not the case here.         The documents are
  4   being sought by Navient.
  5           More to the point, the procedure proposed by Navient
  6   would only add steps as, in fact, the Bankers Trust case
  7   explains, rather than the relatively straightforward
  8   discovery procedures.     We have a situation where a separate
  9   request is made to the Department.        The Department, if it
 10   decides to grant the request, has to go get those documents
 11   from Navient if it wants to produce them, or it can order
 12   Navient to produce them, which is exactly what we're here
 13   for.
 14           The proposed -- the Tuohy regulations aren't more
 15   convenient in this case.      They only add potential steps and
 16   potential side litigation in federal court over the
 17   Administrative Procedures Act.
 18           THE COURT:     Thank you.
 19           MR. SHUMSKY:     Good morning, Your Honor.        Thanks for
 20   the opportunity to argue the motion to compel.          I understand
 21   that it is somewhat unusual to be hearing an argument on
 22   this.   We bring it to your attention because we think that
 23   there are some very significant issues and concerns that the
 24   Court ought to consider before it orders production.
 25           Let me be clear at the outset here, we are not


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  1   taking the position that this Court has no authority to
  2   enter the order that the State is requesting.          The question
  3   is whether or not the Court should exercise that authority
  4   and what limitations the Court should order on the
  5   production of this information.
  6            So let me step back and talk just for a second about
  7   the type of information that we're talking about.           We're
  8   talking about individually identifiable information that
  9   discloses borrowers' names, home addresses, telephone
 10   numbers, maybe more dangerously Social Security Numbers,
 11   bank account information, credit histories, really serious
 12   stuff that a lot of bad actors would like to get their hands
 13   on.
 14            THE COURT:    Let me stop you right there.        Aren't
 15   there things in effect, protective orders, orders to seal,
 16   filing certain documents that do redact that personal
 17   information and any complete documents under an order for
 18   seal?    Aren't there protections that allow for that?             I
 19   mean, we have cases here that involve banks, that involve
 20   multibillion dollar corporations that oftentimes contain
 21   very sensitive and personal information, and yet we manage
 22   to handle all of those cases.
 23            MR. SHUMSKY:    Sure, Your Honor.      That's exactly
 24   right.   No question.    There's a protective order in place,
 25   and I have no reason to think -- Navient certainly isn't


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  1   taking the position that Ben can't safeguard this
  2   information, that he's going to improperly use it or that
  3   somebody in his office is going to improperly use it, that
  4   they're going to leak it to a newspaper.         But what the
  5   Department of Education has required and what federal law
  6   has required is a series of very highly reticulated data
  7   security and information security procedures that are
  8   designed to prevent somebody from hacking into a computer
  9   system that contains this information and unlawfully
 10   accessing it.
 11           And, you know, Ben talked about some of the
 12   authorities, but there's Privacy Act regulations that govern
 13   data security.    There are NARA regulations that govern data
 14   security practices and procedures.        There are Department of
 15   Education regulations that govern all of that.          Navient's
 16   contract governs all of that.
 17           We explained in our brief at some length some of
 18   the, I'll call them cybersecurity, features that we need to
 19   build into our systems.      And I would add, there's one other
 20   statute that's relevant here. it's the FISMA, the Federal
 21   Information Security Management Act, that requires the
 22   federal government when it maintains -- and I should say
 23   expressly applies to contractors who maintain sensitive data
 24   on behalf of the government, that those companies need to
 25   put in place to prevent hackers or unauthorized individuals


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  1   from accessing this information.
  2            So, again, I respect we've got a protective order in
  3   place.   We don't mean to suggest in any way that the Bureau
  4   is going to be releasing or unlawfully using this
  5   information.    The question is whether or not the State has
  6   in place data architecture and cybersecurity features that
  7   are sufficient to safeguard this information, that are
  8   compliant with federal law, and that meet the standards that
  9   the United States Department of Education has imposed.
 10            And so we have sort of two sets of concerns that
 11   arise here, right?     On the one hand, we have half a dozen or
 12   more provisions of the contract, which we laid out at Pages
 13   4 to 5 of our opposition that are designed to locate this
 14   information exclusively within the federal government's
 15   power to control and dispose of as it sees fit.           And then
 16   secondarily, consistent with the contract pursuant to the
 17   contract, a series of technical specifications and
 18   information security requirements that are designed to
 19   safeguard this highly sensitive, very desirable information.
 20            THE COURT:    Without going down, for lack of a better
 21   term, the rabbit hole of cybersecurity that you have raised,
 22   doesn't the State already keep sensitive information on many
 23   of its constituents or citizens or residents?          And doesn't
 24   it do that in the context of DSHS, in the context of a
 25   myriad of other criminal cases, all of that?          I mean, isn't


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  1   that -- is that truly what the concern is?
  2             MR. SHUMSKY:   Your Honor, I have no reason to doubt
  3   that the State maintains this information.          What I can't
  4   represent, what I'm not sure that the State can represent to
  5   you today, is that the system architectures and the
  6   technical specifications that they had in other places are
  7   consistent with the requirements of federal law, with the
  8   requirements the Department of Education has imposed, that
  9   FISMA imposes and that federal law requests, the federal
 10   government, federal agencies that maintain this data, to
 11   impose.
 12             And the position that we're taking in this case is
 13   that in contemplating whether or not to issue a discovery
 14   order, the question isn't just whether or not the
 15   information is discoverable within the terms of CR 34.             But
 16   rather under CR 26(b)(1) requires you to consider what the
 17   limitations are on the parties, what the burdens are on the
 18   parties, what the interests at stake are in ordering the
 19   production.   And, in particular, whether or not there is a
 20   mechanism for the party to get this information without
 21   imposing an undue burden on the party from whom it's sought.
 22             And we're in a really tough position, Your Honor,
 23   right?    We're being put in between a rock and a hard place.
 24   On the one hand, the threat of violating a court order to
 25   produce this data, and on the other hand, the threat of


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  1   violating our contract with the United States government,
  2   with the Department of Education, that bars us from
  3   producing this data outside of the limitations that the
  4   government, I think quite reasonably, has imposed on this
  5   data.
  6           And what we're asking you to consider is the fact
  7   that the Department of Education has asked the State to come
  8   before it and request the data.       That at that point the
  9   Department of Education can sit down with the state of
 10   Washington and discuss the appropriate limitations that will
 11   be placed on that access to ensure that only pre-cleared
 12   individuals are able to access it, to ensure that the state
 13   of Washington and the Bureau's computer systems have
 14   sufficient safeguards in place to prevent hackers or other
 15   unauthorized actors from accessing the information.
 16           And given the limitations that are imposed on
 17   Navient here, I think it's not crazy to say this is
 18   something that ought to be worked out between the Department
 19   of Education, which has taken every imaginable step to say
 20   we have exclusive control and custody of these records, even
 21   though we have used a contractor to build this server and
 22   even though the contractor is performing functions on the
 23   government's behalf.     But come to the government and talk to
 24   us about this so that we can defend the government's
 25   interest and the Department of Education's interest in


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  1   protecting this highly sensitive data.
  2           And, you know, I understand Mr. Roesch's argument,
  3   which is to say, well, you know, it would really be
  4   duplicative at this point for us to go and ask the
  5   Department of Education, because we have come into court and
  6   asked the Court to order the production of this.           But that
  7   sort of defect or argument really is the State's own fault.
  8   If they had gone to the Department of Education in the first
  9   instance and made this request, it would have taken the
 10   State far less effort than it took the State to file the
 11   motion to compel, file a reply brief, and come into court
 12   and argue their position today.       The fact that they chose
 13   not to do it doesn't sort of make that unduly burdensome.
 14   It certainly doesn't make it unreasonable.
 15           What we're asking, what the Department of Education
 16   has ordered us to say to the Court and to the state of
 17   Washington, is come to us.      Have a discussion about this,
 18   and show us that you've got the systems in place and the
 19   protections in place to safeguard this information.
 20           And so, again, I want to be clear.          Our position is
 21   not that you somehow lack the power to enter this order but
 22   whether, in light of the things you need to consider under
 23   CR 26 it's appropriate to do so without any consideration
 24   for the Department of Education's interests, for the
 25   interests of the United States government.          And, you know,


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  1   we respectfully submit that the appropriate way to handle
  2   this is to have the state of Washington go to the Department
  3   of Education, determine whether or not Ed and the state of
  4   Washington can come to an agreement on the procedures and
  5   restrictions that are going to apply to this data.           If they
  6   can, that's great.     The State's going to get all of the
  7   information that they're looking for.         If not, they can come
  8   back into court, and you at that point can make a
  9   determination of whether or not to compel Navient to
 10   disregard the contractual limitations that are in its
 11   contract with the federal government.
 12           And one very last thing, if I can just briefly point
 13   out.   Mr. Roesch has said they re looking for a limited set
 14   of information in this case on particularly identified
 15   Washington borrowers.     They have already sat down with those
 16   borrowers, met with those borrowers.        I would add sort of
 17   one addendum to all of this.        I think there are 46
 18   Washington borrowers that are at issue here whose data the
 19   State is seeking.     We understand from the State that they
 20   have gotten releases from 39 of those 46 borrowers that
 21   essentially waive any objection that that borrower would
 22   have to the production of its information.          Our
 23   understanding from informal communications with the
 24   Department of Education is that with those releases in hand,
 25   the Department likely would release that information to the


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  1   State.
  2             We said to Mr. Roesch when we had a discovery
  3   dispute that prompted the motion to compel, go back to the
  4   other set of borrowers.      Get the same releases for those
  5   individuals.    We'll take that to the Department of Education
  6   and see if the Department of Education will give us the
  7   requisite written authorization to release this information
  8   to you.    And the State refused to do that.        They said no, we
  9   want to take this to Court.         We want to set a precedent.    I
 10   suspect we're hearing it's 46 borrowers today.          Tomorrow
 11   it's going to be every call record, every record that
 12   Navient has, every single borrower in the system.           But there
 13   was a solution to this problem that the State chose to
 14   forego.
 15             And I think in choosing whether or not to sort of
 16   force Navient into this no-good-option scenario between
 17   violating a court order and violating our contract with the
 18   United States government, that it's worth having the state
 19   of Washington go through the procedures that the Department
 20   has requested and see if there's a way to work these issues
 21   out.   We're willing to be a, you know, useful and helpful
 22   participant in that process, but in our view, it's premature
 23   and inappropriate to order us to violate our contract and
 24   disregard the legitimate and significant issues that the
 25   federal government has sought to assert and protect itself


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  1   with the regulations and the contractual provisions we're
  2   dealing with.
  3           THE COURT:     All right.    Thank you, counsel.      You may
  4   be seated.
  5           In looking at this issue, the Court finds and is
  6   going to grant the motion to compel.        The Court does not
  7   find that the federal Privacy Act is a bar under these
  8   circumstances, that this Court has and is a Court of
  9   competent jurisdiction to grant this motion.          The Court
 10   finds that with regards to the contract, that a provider of
 11   government services can't simply say this contract doesn't
 12   allow us to; therefore, we're somehow not obligated to
 13   provide this type of discovery.       These are the risks that
 14   governments run when they provide outside individuals to
 15   contract services.     There's a presumption that at some
 16   point, there may be litigation, and they are no more immune
 17   from the requirements of discovery than the government
 18   itself would be.
 19           This isn't a provision to violate a contract.              This
 20   is a court order.     And this is not an intentional violation.
 21   This is not a willful violation.        This is an obligation
 22   under an order of a Court of competent jurisdiction.
 23           With regards to the convenience, the place that is
 24   the most likely and easiest place to obtain this information
 25   is from the person who holds this information.          Again, you


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  1   can delegate authority; you can't delegate responsibility.
  2   And while the Department of Education may be ultimately
  3   responsible for these loans, they have delegated certain
  4   authority to Navient.     And within that context of the
  5   authority is the keeping of these records.          And Navient is
  6   the source of those.     And the Court is going to grant the
  7   motion to compel.
  8             So I'm going to ask that you prepare an order on
  9   that.   We'll take all of the orders at the end that I'm
 10   going to take care of today.         Okay?
 11             That brings us then to the plaintiff's 12(c) motion.
 12   And I'm going to give each side 15 minutes -- do you want
 13   certain time reserved for rebuttal?
 14             MR. ROESCH:   Yes, Your Honor.      I would like to
 15   reserve five minutes for rebuttal, please.
 16             THE COURT:    Okay.   Five minutes for rebuttal.         And
 17   you may proceed.
 18             MR. ROESCH:   Good morning, Your Honor.       The State's
 19   motion should be granted for the reasons set forth in the
 20   briefing and to the extent specifically provided in the
 21   State's proposed order.
 22             THE COURT:    Let me ask a question.      Why a 12(c)
 23   motion?
 24             MR. ROESCH:   Yes, Your Honor.      I think that's a fair
 25   question.   In this case, Navient's answer provided a lot of


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  1   grist for the State to look through.        For example, Navient
  2   denied knowledge that would allow it to either admit or deny
  3   things like whether it serviced federal and private loans,
  4   whether its obligations in servicing those loans included
  5   collecting payment.     So there was a lot for the State to get
  6   its head around.    That didn't happen within 20 days.
  7           We planned to present these issues in a motion for
  8   summary judgment.     When the defendants decided that they
  9   were going to be moving for a 12(c) partial dismissal of the
 10   State's claims, it seemed like an appropriate time for the
 11   Court to consider the purely legal issues presented by
 12   conflict preemption and, to a certain extent, the express
 13   preemption provision of 20 USC 1098g.
 14           THE COURT:     Didn't this Court address those issues
 15   somewhat in the 12(b)(6) motion that it heard?
 16           MR. ROESCH:     Your Honor, it did.      However, the
 17   procedural posture required denial of that motion based on
 18   the any conceivable fact standard that applies here to both
 19   of the cross motions.     And so as defendants rightly pointed
 20   out, it's not necessarily conclusive on the entire case.
 21   We're happy for that ruling to stand and be dispositive
 22   regarding the affirmative defenses, including conflict
 23   preemption, but as a belt and suspenders way of closing the
 24   book on those specific defenses, we want to present these
 25   very clearly for the Court's consideration.


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  1           THE COURT:     Okay.   So let's start with the issue of
  2   conflict preemption.     And are you also going into an issue
  3   of field preemption?     Is that --
  4           MR. ROESCH:     Well, Your Honor, it's a little bit
  5   unclear whether there's a field preemption defense that's
  6   being asserted here.     For example, we didn't think there was
  7   a statute of limitations defense that was being asserted.
  8   It turns out today, there is.       So, again, belt and
  9   suspenders.
 10           As far as conflict preemption goes, there are two
 11   different types.    The first is impossibility preemption.
 12   That's where a party cannot comply with both state and
 13   federal law.    There's no suggestion that that's the case
 14   here.
 15           So what we're left with is obstacle preemption.
 16   This is where the state law stands as an obstacle to the
 17   accomplishment and execution of the full purposes and
 18   objectives of Congress.      That is a legal matter to be
 19   decided by examining the federal statute as a whole and
 20   identifying its purposes and intended effects.
 21           And we believe, Your Honor, that prohibitions on
 22   unfair or deceptive acts or practices by state law doesn't
 23   get in the way of anything Congress intended to do with the
 24   higher education act.     The higher education act was intended
 25   to help students, to help them finance their educations, to


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  1   help them repay their loan obligations, including through
  2   income-driven repayment plans.       Nothing in that broad
  3   purpose conflicts with the notion of borrowers not being
  4   lied to or being treated unfairly.
  5           So what we have is the Department of Education
  6   notice of interpretation which, I think it's worth pointing
  7   out under the Wyeth Levine case, is afforded some weight at
  8   the most.   And the amount of weight is essentially, Your
  9   Honor, like an amicus brief.        The Court look at how thorough
 10   it is, whether it's consistent with prior positions -- it's
 11   not, for the reasons we've explained in the briefing -- and
 12   how persuasive it is.
 13           And the Department of Education has two purposes
 14   that it says state UDAP, Unfair and Deceptive Acts or
 15   Practices, may conflict with.       The first is uniformity.
 16   Your Honor, the weight, and indeed most recent federal
 17   authority on this, which was put out after the Department's
 18   notice of interpretation, finds that uniformity is not a
 19   purpose of the Higher Education Act and certainly doesn't
 20   displace traditional state consumer protection laws in light
 21   of the presumption against preemption.
 22           And that's not surprising.        It would be a really
 23   unusual purpose of Congress to prevent the state of
 24   Washington from protecting its consumer by saying you can't
 25   make misrepresentations to them for the reason the company


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  1   needs to be free to make those same representations to
  2   borrowers all across the country.        That is contrary to
  3   everything we know about the Higher Education Act's purpose
  4   as well as the other federal laws that apply in these areas
  5   like, for example, the Federal Trade Commission action.
  6           THE COURT:     Let me ask a question.       You have asked
  7   this Court to take notice of certain adjudicative facts.
  8   Some of those facts I know that you offered for the purpose
  9   of their existence as opposed to for the purposes of their
 10   content.   How is the mere existence of those relevant
 11   without the content?
 12           MR. ROESCH:     Because, Your Honor, it goes to -- it
 13   goes to the consistency with which the Department of
 14   Education has approached the issue of compliance with state
 15   law and whether its servicers need to do that.
 16           THE COURT:     Well, let me ask a follow-up question.
 17   How does this Court give any, I don't know what the word is,
 18   credence, leeway to the policy decisions on how to proceed
 19   from the Department of Education?        We have had, certainly
 20   since the inception of this case, a change in policy, a
 21   significant change in policy as to how these things are
 22   handled or viewed.     So what weight is the Court to give to
 23   agency policy with regards to, as they argue, that somehow
 24   the Department of Education itself, their new policy somehow
 25   preempts the consideration of this by the Court?


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  1           MR. ROESCH:     Certainly, Your Honor.       We don't view
  2   this as what the Obama administration said versus what the
  3   Trump administration says.      We go much further back than
  4   that, in fact, to the 1992 notice of interpretation
  5   regarding the preemptive effect of 34 CFR 628.411, which
  6   governs the minimum requirements that a servicer must do to
  7   take -- to try to collect on Folk (phonetic) loans.            And
  8   there -- and again, I think that was probably developed
  9   during the end of the George H.W. Bush administration, put
 10   out at the beginning, perhaps, now.        It would have been in
 11   the George H.W. Bush administration.        The Department of
 12   Education said the preemptive effect of these regulations --
 13   and this is written into subsection O of that regulation
 14   itself -- only extends so far as is necessary to allow
 15   services, to allow collectors, to undertake these minimum
 16   efforts.
 17           So what we have -- and this, by the way, is
 18   completely consistent with Congress's mandate in the Higher
 19   Education Act 20 USC 1082 A-1 it instructed the Department
 20   to provide minimum standards for servicers.          And the
 21   Department did just that.      If you look at the regulation I
 22   cited earlier, the words "at a minimum," "at least," appear
 23   over and over and over again.       And as a result, courts have
 24   held all across the country that prohibitions on making
 25   misrepresentations don't get in the way of --


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  1           THE COURT:     Meeting those minimal obligations.
  2           MR. ROESCH:     -- meeting those minimum requirements.
  3   So there isn't a conflict between the intent to provide a
  4   minimum floor for what activity needs to take place and
  5   preventing people from making misrepresentations.
  6           I think, Your Honor, there's also -- if I could just
  7   have one moment -- there's a big difference between
  8   establishing a minimum, establishing a floor, and an
  9   intention to establish an exclusive set of contracts.
 10   Neither the Higher Education Act nor the Department of
 11   Education's own regulations purport to be exclusive.               That
 12   comes up for the first time, Your Honor, in this 2018 notice
 13   of interpretation.
 14           THE COURT:     All right.
 15           MR. ROESCH:     Thank you.
 16           THE COURT:     Thank you.     So I'll ask you the same
 17   question, and I'm going to start off with the same question.
 18   Does -- what effect does a policy of a federal agency have
 19   on preemption?
 20           MR. SHUMSKY:     Sure.      Let me unpack that in a couple
 21   of different ways to Your Honor.
 22           What we have from the Department of Education -- and
 23   I want to be clear.     We are not solely relying on the letter
 24   that the Department of Education released in the Federal
 25   Register recently.     But what the Department of Education has


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  1   done there, what it did in the Brannon case in the 9th
  2   circuit in 1996 when President Clinton was the head of the
  3   executive branch, what it said to the 9th circuit in 1999 in
  4   the Chay case when President Clinton was running the
  5   Department of Education, is to interpret the scope and the
  6   reach of Section 1098g, the express preemption clause that
  7   we have invoked in this case.
  8             And in Brannon and in Chay the 9th circuit looked at
  9   those interpretations of a federal statute, and they said
 10   we're in Chevron territory.         That is to say when a federal
 11   agency interprets its organic statute, that interpretation
 12   is entitled to deference from the judicial branch.           Whether
 13   it's state or federal makes no difference because they're
 14   the body that was charged by Congress with interpreting and
 15   implementing federal law.
 16             We are not taking the position that these notices of
 17   interpretation, that the positions that the Clinton
 18   administration took, positions that now the Trump
 19   administration is taking somehow in and of themselves are
 20   preemptive.   They relate to the interpretation and meaning
 21   of Section 1098g.     And any time a federal agency interprets
 22   a statute, that warrants considerable deference from the
 23   courts.
 24             And so we are looking to those authoritative
 25   interpretations of federal law as a guide to what the


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  1   statute means at the end of the day, not as a sort of
  2   independent source of preemptive authority apart from what
  3   the statute otherwise provides.
  4            There's a second part of this, Your Honor, which is
  5   we're not dealing just with express preemption here.               We're
  6   dealing with conflict preemption.        As you recognized on your
  7   original ruling on the motion to dismiss, there are two
  8   different types of conflict preemption, right?          One type of
  9   conflict preemption is impossibility preemption.           We're not
 10   taking the position in this case that there is impossibility
 11   preemption.   We think, at least in theory, it is possible to
 12   comply with at least some of the claims that the State might
 13   pursue in this case -- more on that in a moment -- and
 14   federal law --
 15            THE COURT:    That it's possible to actually do this
 16   without misrepresenting -- engaging in unfair or deceptive
 17   practices as defined by law.        Correct?
 18            MR. SHUMSKY:    Sure.      As defined by law, not
 19   necessarily what the State argues unfair and deceptive
 20   practices are, but yes.      We think that at least for certain
 21   of the things that the State is going to argue at trial or
 22   may argue at trial -- again, I want to come back to that
 23   concept in a moment -- impossibility preemption isn't an
 24   issue.
 25            There's a second type of conflict preemption called


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  1   purposes and objectives preemption where what the Court has
  2   to do is determine whether or not state law claims that the
  3   State is pursuing or may pursue at trial are consistent with
  4   the purposes and objectives of the legislation that Congress
  5   has passed.   The same principles that we're talking about in
  6   terms of deference to the agency's authoritative
  7   interpretation of 1098g apply to a federal agency's
  8   interpretation of what the purposes and objectives of the
  9   statutory framework are.
 10           THE COURT:     Can I -- and I understand the idea of
 11   giving deference to things.         But can I just ask you, if our
 12   courts were somehow giving deference to these, for lack of a
 13   better word, policy decisions made by individuals appointed
 14   by the executive branch, don't we actually run a danger of
 15   having these different interpretations vary possibly every
 16   four years and not having some continuity and consistency as
 17   to how the courts look at this?        I mean, isn't that why, if
 18   Congress intended to preempt this, they would have done so?
 19           MR. SHUMSKY:     Well, I -- trying to think about the
 20   right order to do this in.      But I think I've got three
 21   responses to that --
 22           THE COURT:     I know that had a lot in it --
 23           MR. SHUMSKY:     -- Your Honor.
 24           THE COURT:     -- but --
 25           MR. SHUMSKY:     So let me try and unpack a few things


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  1   there.    I want to answer the question that you asked very
  2   directly up front, which is yes, there is a risk that a
  3   federal agency can change its interpretation over time.                 The
  4   U.S. Supreme Court has recognized that for decades.            What it
  5   has said is, look, where the language of a statute is plain,
  6   then an agency has no leeway to change its mind because what
  7   Congress has explicitly provided for controls.          And,
  8   obviously, a federal agency is subservient to Congress and
  9   it can't sort of change what it's doing.
 10             But where there's ambiguity in the statute, where
 11   there's room for an agency to fill a gap or to choose among
 12   competing but nonetheless both reasonable interpretations of
 13   what federal law is, there are a couple of values that are
 14   served by deferring to an agency, even where an agency might
 15   change its mind over time.      One of the values that's served
 16   by that is agency expertise.        And I don't mean to take
 17   anything away from you, Your Honor, but --
 18             THE COURT:   Oh, please --
 19             MR. SHUMSKY:   -- judges in general are generalist
 20   judges.    They deal with all kinds of subject matter.             We
 21   were late coming into court this morning because we went
 22   down to your old courtroom and watched some of the docent
 23   calendar.    Right?    Judges deal with a lot of different kinds
 24   of issues.    United States Department of Education deals with
 25   the Higher Education Act.      It's a subject matter expert.


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  1           And so there's a value, the Court has said, in the
  2   Chevron case in the context of dealing with questions of
  3   agency deference, there's an expertise-based rationale for
  4   giving some additional leeway to agencies who may well, in
  5   light of changed circumstances or evolving conditions,
  6   change their mind about how best to effectuate the purposes
  7   or how best to resolve an ambiguity in the statute in light
  8   of that specialized knowledge.       That's one value that's
  9   served by that.
 10           The second value that's served by that is there's
 11   some democratic accountability, which is at least in the
 12   federal system, not in every state but in lots of states
 13   too, judges have lifetime or very long appointments to the
 14   bench and can't be removed where the people disagree with
 15   the policy decision that a judge has made.          But we vote
 16   every four years for the president of the United States.
 17   The president of the United States chooses the head of the
 18   executive branch.     If you don't like what a federal agency
 19   is doing, the Supreme Court said in the Chevron case, you
 20   can vote him or her out of office at the conclusion of their
 21   term, get a new set of executive branch heads, and that way
 22   there's a sort of democratic accountability mechanism that
 23   solves the counter-majoritarian dilemma, the problem that
 24   you might have a judge ossifying the law in a way that's at
 25   odds with what the people have chosen through the electoral


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  1   process to put in place.      So big conceptual theoretical
  2   answer to your question.
  3             Yes, I hear you.    It can change every four years.
  4   The Supreme Court has said that's okay when you're dealing
  5   with ambiguity in the statute.       For --
  6             THE COURT:   But is there ambiguity in the statute?
  7   I guess that's the second part of my question.
  8             MR. SHUMSKY:   -- those two reasons.       Well, so the
  9   second part of that question is, Your Honor, I actually
 10   don't think that there is any ambiguity in the statute.
 11   Section 1098g says that no federal loan shall be subject to
 12   any disclosure requirement of any state law.          It's broad.
 13   It's unqualified.      And it's unambiguous.     It says where a
 14   state is seeking to require a federal lender to make a
 15   disclosure, even if that same disclosure is required by
 16   federal law, the State can't enforce that law.          You
 17   recognize that in your original decision.         You said, I
 18   certainly recognize that there are claims that will be
 19   preempted -- let me just read that.        You said -- and in this
 20   case, there is 1098g, it does expressly preempt certain
 21   things.
 22             And this is the point that I wanted to come back to
 23   a moment ago.    I know I tried to bracket it a couple of
 24   times before, which is as Ben just conceded, right?           The
 25   same standard that was at issue on 12(b)(6) and that you


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  1   rely upon in denying our motion to dismiss is the standard
  2   that applies to the State's motion here.         Which is if there
  3   is any conceivable set of facts, any evidence that the State
  4   wants to introduce, any argument that the State wants to
  5   make, any claim that the State wants to pursue that would
  6   run afoul of that broad and unqualified language in 1098g,
  7   you have to deny their motion to effectively strike our
  8   affirmative defense, which would have the consequence of
  9   preventing us from mounting those objections down the road.
 10            And it simply cannot be said that there is no
 11   conceivable claim or argument or evidentiary avenue that the
 12   State wants to pursue in this case that would run or avoid
 13   running into that explicit and unambiguous prohibition of
 14   1098g.   But the reason why the deference question comes up,
 15   it's sort of a, well, but even, right?         Even if there were
 16   some ambiguity, we have a series of decisions where the
 17   Department of Education consistently has taken a broad view
 18   of 1098g, going, as I said before, all the way back to the
 19   Clinton administration.
 20            I would point out the 9th Circuit has deferred to
 21   the Department of Education's preemptive interpretation or
 22   interpretation of the preemptive scope of 1098g twice.             The
 23   7th circuit has done it.      I would add, we pointed out, the
 24   Great Lakes case from the Northern District of Illinois in
 25   our briefing that granted a motion to dismiss similar to the


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  1   one that we brought in this case, obviously under a federal
  2   standard rather than the any-conceivable-set-of-facts
  3   standard that you applied.
  4           I should tell you, two days ago, the middle district
  5   of Florida -- sorry, the Northern District of Florida,
  6   federal court, issued another decision, again deferring to
  7   the Department of Education's position finding that 1098g
  8   expressly preempted claims against a loan servicer there,
  9   Great Lakes, one of Navient's competitors.          So you have a
 10   growing body of case law, body of case law that's consistent
 11   back to the 1990s.     This is even if there were any ambiguity
 12   in the broad scope of Section 1098g, I'm going to defer to
 13   what the Department of Education has said on this matter.
 14           So, you know, at bottom I think what we're asking
 15   you to do, Your Honor, is recognize under the standard that
 16   the State has conceded that you're bound to apply, there are
 17   things that the State may argue at trial down the road that
 18   would run afoul of the prohibition that's expressly
 19   unambiguously set forth in 1098g, that even if there was
 20   some ambiguity in that, we have authoritative
 21   interpretations that date back across multiple
 22   administrations, Democratic and Republican, that impose or
 23   adopt the same broad unqualified interpretation of 1098g.
 24   That it certainly can't be said there was nothing that the
 25   State was going to argue in this case that would run afoul


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  1   of that.   And allow Navient, if and when we get to trial, to
  2   raise our objections.     To say this line of questioning is
  3   off limits, this is inappropriate.
  4           Very last thing that I want to say about that is --
  5   and Mr. Roesch said before -- they were planning to raise
  6   these issues on summary judgment.        That's the appropriate
  7   time if you're going to wade into this, to wade in --
  8           THE COURT:     Well, the issue of preemption isn't
  9   going to be decided by a jury.       It's going to be decided by
 10   this Court.
 11           MR. SHUMSKY:     Oh, certainly not.      But it ought to be
 12   decided claim by claim when the State raises certain
 13   arguments.    Right?
 14           I'll give you just one example, right?          We pointed
 15   out in our opening brief -- again, irrespective of this
 16   no-conceivable-set-of-facts standard, we have 1098g, which
 17   expressly bars any state disclosure requirement.           There are
 18   claims that are in the complaint that explicitly fault
 19   Navient for failing to make certain disclosures.           And they
 20   actually use the words, "failed to disclose."          We said that
 21   is clearly preempted.     That should be taken out of the case.
 22   And you said it's premature to do that, right?          The standard
 23   is, is there anything the State could argue down the road,
 24   claim an evidentiary avenue they could pursue that wouldn't
 25   be subject to that objection?       If there is, I have to deny


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  1   the motion to dismiss.      But when the time comes, right?
  2            If the State starts to argue about nondisclosure or
  3   failure to disclose, we want to have the ability to say to
  4   the Court, Your Honor, that is preempted.         We're no longer
  5   in hypothetical land where is there some conceivable set of
  6   facts.   We're confronted with an actual situation in which
  7   the State is trying to fault Navient for not making a
  8   disclosure.   If so, that's the time, at that point in the
  9   case, to resolve those objections.        And that's what we want
 10   to preserve the ability to do, Your Honor.
 11            THE COURT:    Thank you.
 12            MR. SHUMSKY:    Thank you.
 13            THE COURT:    Which -- and, again, I think that it
 14   would be, in all fairness, easier to start where we left
 15   off.   This brings me back to that question, you know that
 16   the 12(b)(6) or the 12(c) standard, I think both parties
 17   know, this is a pretty high standard.         This is any set of
 18   conceivable facts beyond a reasonable doubt.          I mean, it's a
 19   pretty high burden, especially when we have statutes that
 20   say, yeah, there's certain circumstances under which this
 21   can be preempted, and we have other state -- I mean,
 22   wouldn't my recognition that other states have engaged in
 23   this inquiry automatically say there's reasonable doubt and
 24   you don't meet that 12(c) standard?
 25            MR. ROESCH:    Your Honor, I don't think so.        And


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  1   let's unpack a couple things.
  2           First of all, the State's motion doesn't seek to
  3   strike -- seek to dismiss the 1098g express preemption
  4   argument in its entirety.      That relates to a specific claim
  5   and specific paragraphs in the complaint.
  6           I would refer the Court to paragraph 5.138 where the
  7   State has alleged Navient made affirmative
  8   misrepresentations on its website to borrowers.           Those
  9   representations weren't about the loans themselves.           They're
 10   not about the loan's terms, conditions, interest rates,
 11   anything like that.     These were representations about what
 12   Navient was going to do for those borrowers if the borrowers
 13   took the action of calling in.       The Court in the CFPD case
 14   held that this created an affirmative duty on Navient to act
 15   in accordance with those promises.        Navient's failure to do
 16   that, Your Honor, its actions in making representations
 17   about what its own actions would be and then breaching those
 18   representations, can't be characterized in any way as a
 19   failure to make disclosures about the loan.
 20           The other point regarding the standard relates to
 21   the notion of obstacle preemption.        In order for that
 22   defense to survive, we need a couple things.          First, we have
 23   to establish a purpose of Congress -- and it's key.           We'll
 24   get back to the sort of level of deference and how to deal
 25   with the Department of Education's pronouncements about


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  1   this.   But we're looking for a purpose of Congress that
  2   could even conceivably be thwarted by a prohibition on
  3   making misrepresentations to student loan borrowers.               I
  4   would submit, Your Honor, there is none, because we simply
  5   haven't established that threshold legal issue of what is
  6   the purpose.
  7            We talked about the HEA's purpose broadly.          We
  8   talked about uniformity.      We can talk, if Your Honor would
  9   like, about the Department of Education's invocation of the
 10   federal fisc.    Again, Congress has spoken about how it wants
 11   to manage these loans.      In 20 USC 1082a(1) it specifically
 12   says damages will not be passed on to the United States for
 13   the actions of student loan services.         So that is, Your
 14   Honor, how Congress intended to protect the federal fisc.
 15   It also intended to protect the federal fisc by switching
 16   from the FELL program to the direct lending program and
 17   cutting out the private lender middleman.
 18            There's no indication, much less the type of
 19   compelling evidence that's required from the 9th Circuit And
 20   Supreme Court case law governing preemption that Congress
 21   intended to save money by getting rid of traditional state
 22   Consumer Protection Acts that impose the same type of
 23   prohibitions that are generally applicable under federal
 24   law.    In fact, that would be a really strange way to save
 25   money, because Navient still has to comply with these same


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  1   standards, regardless of the application of state law.
  2           Finally, Your Honor, in terms of the deference to be
  3   accorded to an agency's pronouncements regarding Congress's
  4   purposes and Congress's objectives in the statute that it
  5   administers, Wyeth v Levine speaks directly to that.               It's
  6   not Chevron deference.       It's not our deference.      It's what's
  7   called Skidmore deference.      Specifically, the Supreme Court
  8   says we have not deferred to an agency's conclusion that
  9   state law is preempted.      It recognizes that departments like
 10   the Department of Education may have some insight into how
 11   state law interacts with the federal scheme.
 12           Here's the key passage:        The weight we accord the
 13   agency's explanation of state law's impact on the federal
 14   scheme depends on its thoroughness, consistency, and
 15   persuasiveness.
 16           Your Honor, for the reasons we explained in the
 17   brief and have talked about here, that interpretation is not
 18   entitled to any weight.      It is conclusory, and it entirely
 19   ignores any case law that it finds inconvenient.
 20           Unless you have any questions, that's it for me.
 21           THE COURT:     No.   Thank you.
 22           MR. ROESCH:     Thank you.
 23           THE COURT:     So then we turn to the 12(c) motions
 24   proffered by the defendant.         And in this instance, there's a
 25   few things that are at issue.        Number one, the statute of


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  1   limitations that you claim is at issue.         Number two, whether
  2   or not injunctive relief is appropriate and whether or not
  3   restitution can be applied when there is no injunction and
  4   how that impacts this case.         I think I have outlined those
  5   three things that you're seeking to have this Court address.
  6           So let's start with the statute of limitations.
  7           MR. SHUMSKY:     Sure.      Absolutely, Your Honor.        And,
  8   you know, that's exactly the order that I want to tackle
  9   these issues in.
 10           I think the statute of limitations argument is as
 11   straightforward an argument as you'll ever see.           Let me
 12   start by just saying as a matter of fact, there is no
 13   dispute between the parties that the conduct that's
 14   challenged in Count 1 of the complaint ceased no later than
 15   2009.   It's also undisputed that the State brought this
 16   action more than two years after it alleged that the
 17   challenged conduct ceased.
 18           So the only question in front of the Court from the
 19   statute of limitations perspective is, can the State seek
 20   the recovery of a civil penalty, despite failing to comply
 21   or bring its suit within two years?        And the plain language
 22   of the statute addresses that.        RCW 4.16.100(2) gives a two-
 23   year statute of limitation in any action upon a statute for
 24   a forfeiture or penalty to the State.         And there is no
 25   question that Count 1 is an action upon a statute for a


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  1   forfeiture or penalty to the State.        It's a claim brought
  2   under the CPA, which provides in RCW 19.86.140 that every
  3   person who violates RCW 19.86.020 shall forfeit and a civil
  4   penalty to the State.
  5           In other words, whereas the statute of limitations
  6   applies to any action upon a statute for a forfeiture or a
  7   civil penalty to the State, the statute that the State is
  8   actually proceeding under provides for a forfeiture and a
  9   civil penalty to the State.
 10           Second, you can actually look at the claim for
 11   relief in the complaint.      It's actually Paragraph 9.4, where
 12   the State is seeking an award of a civil penalty in the
 13   amount of $2,000, pursuant to 19.86.140.         So we have a
 14   situation where the statute of limitations by its express
 15   terms mirrors exactly what the substantive relief the State
 16   is seeking is, and therefor,e, it's subject to the two-year
 17   statute of limitations.
 18           THE COURT:     But doesn't the State also except itself
 19   in another statute?
 20           MR. SHUMSKY:     Right.     So there is another statute
 21   that generally says the State is not subject to statute of
 22   limitations claims.     Right?      And, fortunately, the
 23   Washington Supreme Court has addressed this precise set of
 24   arguments twice.    In LG Electronics, the Supreme Court of
 25   Washington looked at these provisions and said that general


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  1   rule, which is in RCW 4.16.160, generally bars statute of
  2   limitations in actions brought by the State unless there is
  3   an express provision to the contrary.         That's at 186 Wn.2d.
  4   The pin cite is 13.     And they actually reiterate that at the
  5   very conclusion of their opinion.        The pin cite here is 186
  6   Wn.2d at 18.    In the absence of an express statute to the
  7   contrary, the State's action is barred by the two-year
  8   statute of limitations.      We have an express statute to the
  9   contrary.   It's the one that deals with precisely the kind
 10   of claim that the State is pursuing in this case.           That's
 11   4.16.100(2).
 12           There's another case where the Supreme Court of
 13   Washington addressed this.      It actually predates the LG
 14   Electronics case.     It's the U.S. Oil case. I'd like to point
 15   you to 96 Wn.2d at pages 88 to 90.        The Court in that case
 16   specifically looked at the conflict between these two
 17   statute of limitation provisions, the one that we say
 18   applies here, which specifically deals with civil penalties
 19   to the State, and then the general one that has the nullum
 20   tempus doctrine embedded within it.        And it said we're going
 21   to draw what we call a remedial penal distinction, that in
 22   cases where the State is seeking remedial relief, which U.S.
 23   Oil made clear means monetary damages, but not where it's
 24   seeking penal relief, i.e. civil penalties, that doctrine
 25   applies.    But in cases where the State is seeking civil


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  1   penalties, the express prohibition in 4.16.100(2) applies.
  2           And I will say this, I had to read that case a lot
  3   of times, because it just talks about the remedial penal
  4   distinction without really explaining what it is. But what
  5   it says in that opinion, the Supreme Court said we adopt the
  6   distinction that was drawn by the Court of Appeals when the
  7   Court of Appeals in its decision articulated the remedial
  8   penal distinction.     And if you go back and you look at the
  9   Court of Appeals opinion where they adopted this remedial
 10   penal distinction, this is what the Court of Appeals said
 11   that the Supreme Court of Washington in its decision later
 12   adopted by express reference.       This will be at 27 Wn.App at
 13   107:   Ever since 1854, the legislature has distinguished
 14   between an action which imposes a forfeiture or a penalty
 15   and any other type of action.       This distinction is described
 16   as penal versus remedial.
 17           This is a case that involves an action for a
 18   forfeiture or a penalty, right?       Again, that's the explicit
 19   language set forth in the CPA.       The reference in the U.S.
 20   Oil case is to the statute of limitations provision that
 21   we're talking about, 4.16.100(2).        It's not a monetary
 22   damages action.    It's not anything else.
 23           And it is remarkable for the State to be taking a
 24   position that an explicit prohibition, a statute of
 25   limitations that by definition runs against the State,


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  1   because again, it applies only to a penalty or a forfeiture,
  2   so the State somehow isn't subject to that statute of
  3   limitations.    It would write that provision of the RCW out
  4   of the Washington state code.       So that's our argument on the
  5   statute of limitations.
  6           But you said there's two other issues.          There are
  7   two other issues:     Injunctive relief and restitution.           What
  8   I would just like to say very quickly before I transition to
  9   those issues is those issues are conceptually distinct from
 10   the penalty issue.     Those are not statute of limitations
 11   arguments.    They are not subject to your analysis on the
 12   statute of limitations.      They are different kinds of claims.
 13   They're two different issues that are presented there.
 14           The first is the question of whether or not it is
 15   appropriate for the State to be seeking injunctive relief
 16   here.   And as the Ralph Williams case said, that's the
 17   leading case from the Washington Supreme Court on this,
 18   injunctive relief is proper only where there's, quote,
 19   unquote, a cognizable danger of recurrent violation.               That's
 20   87 Wn.2d at 312 to 313.      And the State has not put forward
 21   any evidence that there is a cognizable prospect or danger
 22   of a recurrent violation in this case.
 23           As the complaint itself concedes, and, again, we're
 24   moving here for judgment on the pleadings, but as the
 25   complaint itself concedes, the conduct that they're


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  1   targeting in this case ended in 2009.         There is no
  2   allegation that Navient has engaged in this conduct since
  3   the end of 2009.    I mean, I was pretty shocked when I read
  4   their reply brief, because the best -- or, sorry, their
  5   opposition brief, because the best they can say -- have a
  6   bunch of sentences that begin hypothetically, somebody who
  7   worked at Sallie Mae is still employed at Navient.
  8   Hypothetically Navient might one day begin originating
  9   loans.   But there's no allegation that Navient is actually
 10   in the process of doing any of the things that are
 11   prohibited.   No realistic possibility that Navient is going
 12   to engage in the particular conduct that the State is
 13   concerned about.
 14            As they say in their complaint, and they plead it
 15   repeatedly, the preferred lending era ended in 2007.               The
 16   use of subprime lending as a loss leader to attract more
 17   businesses from colleges ended in 2009.         Those things don't
 18   happen anymore.    Schools don't have preferred lender lists.
 19   And Navient has no plans now or in the future to engage in
 20   the kind of conduct that the State alleges is actionable
 21   here.
 22            And in the absence of any possibility or prospect,
 23   realistic chance or danger that Navient is going to do these
 24   things --
 25            THE COURT:    Let's address that issue, realistic


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  1   chance.    So certainly you're not engaging in the conduct
  2   right now because of a certain agreement that was entered
  3   into, correct?
  4             MR. SHUMSKY:   Correct.
  5             MR. ROESCH:    So that agreement or the conditions of
  6   that agreement are no longer in effect as of 2019, which is,
  7   what, 60 days away essentially?       90 days away?     Correct?   So
  8   as we talk about realistic, isn't there a realistic chance
  9   in the -- under our 12(c) -- I'm not -- mind you, I'm under
 10   a 12(c) standard.      I'm not under a summary judgment
 11   standard.   So I'm not looking at just the facts of this
 12   case. I'm looking at hypothetically speaking, which is
 13   what --
 14             MR. SHUMSKY:   Your Honor, I actually disagree with
 15   that, which is the standard here of whether or not an
 16   injunction is appropriate.      That's independent of the 12(c)
 17   standard.
 18             THE COURT:    I understand.
 19             MR. SHUMSKY:   And the test for entry of an
 20   injunction is there actually has to be a danger that this is
 21   going to happen again.      And the State has pointed to nothing
 22   beyond the fact that some people who worked at Sallie Mae
 23   pre 2009 work at Navient today.       They have given no
 24   indication, no evidence, nothing that's come out in
 25   discovery, nothing in our documents, nothing in any public


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  1   statements that Navient has made that, boy, you know what?
  2   Starting in 2019, we're going to start trying to resuscitate
  3   preferred lender arrangements.
  4            THE COURT:    Here's where it gets a little murky.
  5   So, obviously, under an injunction standard, it's a pretty
  6   high standard in and of itself.       You have to essentially
  7   show a likelihood, number one, of winning on the merits of
  8   the case, most of all.      But then we have that injunction
  9   standard put within the context of a 12(c) motion.           You
 10   understand?   So those analyses are, while they're
 11   intertwined, they're a little bit independent of each other
 12   as well.   Because I don't have an injunction before me.
 13   Right?   At this point.
 14            MR. SHUMSKY:    Well, they do have a claim seeking an
 15   injunction in this case.
 16            THE COURT:    But --
 17            MR. SHUMSKY:    What they don't have and what they
 18   have not introduced at any point, whether it's in the
 19   complaint or otherwise -- and, again, if we're doing this on
 20   12(c) you're supposed to look at the allegations that are in
 21   the complaint.    Your Honor, you can read the complaint from
 22   top to bottom.    There's not a single sentence in a single
 23   paragraph of the complaint that alleges, that in any way
 24   remotely alleges that it is likely, that it is probable that
 25   Navient's going to engage in this conduct in the future.           So


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  1   we have a situation where the complaint doesn't have any
  2   allegations that support the entry of the injunction.
  3           We're now months -- a year into the discovery
  4   process since our motion to dismiss was denied.           The State
  5   has identified no evidence after a year of discovery that
  6   would support the proposition that Navient is likely, that
  7   there's a reasonable possibility, that this is going to
  8   happen in the future.     We put the State to that challenge in
  9   our opening brief.     They came back in their response.           And
 10   the best they could come up with is hypothetically, Jack
 11   Remandi, who was at Sallie Mae, is the CEO of Navient.
 12           THE COURT:     And I think that --
 13           MR. SHUMSKY:     And, Your Honor, that can't plausibly,
 14   reasonably support the entry of an injunction --
 15           THE COURT:     And I think that number three --
 16           MR. SHUMSKY:     -- in this case -- sorry.
 17           THE COURT:     -- folds into your number two argument.
 18   I want to give you time for rebuttal.         So I understand that
 19   the restitution argument folds into the injunctive relief
 20   argument.
 21           MR. SHUMSKY:     Sure.      And --
 22           THE COURT:     So I'm going to -- anything you want to
 23   say before I turn it over?
 24           MR. SHUMSKY:     Yeah.      Let me just say one thing about
 25   that very quickly.


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  1             THE COURT:   Okay.
  2             MR. SHUMSKY:   Which is the State's position on the
  3   restitution question is highly misleading, and I was quite
  4   surprised when I saw it.       The quote that they give you in
  5   their brief at Page 15 is that RCW 19.86.080(2) -- this is a
  6   full quote of their quotation -- grants the Court
  7   wide-ranging equitable authority to issue -- now they have a
  8   quote in this quotation -- orders for judgments as may be
  9   necessary.    Close their quote.     To provide restitution.
 10   That is not what the statute says.        What the statute
 11   actually says is that the Court may, quote, make such
 12   additional orders or judgments as may be necessary.           The key
 13   word there, Your Honor, is such additional orders or
 14   judgments as may be necessary.       What are those judgments or
 15   orders in addition to?      Right?   That's parenthese 2, so
 16   Section 2 of the statute, it's the relief that's set forth
 17   in Subsection 1, it's injunctive relief --
 18             THE COURT:   Injunctive relief.
 19             MR. SHUMSKY:   -- and as Ralph Williams said, in the
 20   absence of an injunction, there is no free-standing cause of
 21   action.    So this is an issue that's been up to the
 22   Washington Supreme Court.      It has been squarely addressed
 23   and foreclosed by the Washington Supreme Court by 40 years.
 24   And the state's selective quotation of the law and refusal
 25   to engage with the holding of Ralph Williams can't solve


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  1   that claim.
  2           So you're right.      It's pegged back to whether
  3   there's a proper case for an injunction, which as we've
  4   said, there isn't.     Thank you.
  5           THE COURT:     Yes.   Thank you.    That's what I wanted
  6   to make sure that I -- it folds into the other one.
  7           MR. SHUMSKY:     Yes, Your Honor.
  8           THE COURT:     So I'm going to give the State -- good
  9   morning.
 10           MS. SMITH:     Good morning, Your Honor.
 11           THE COURT:     So I'm going to have a couple of
 12   questions as well.
 13           MS. SMITH:     All right.
 14           THE COURT:     How can I grant prospective injunctive
 15   relief on something that doesn't currently exist?
 16           MS. SMITH:     Well, Your Honor, in our complaint we
 17   didn't allege that all of the conduct stopped in 2007.             Some
 18   of it did continue beyond that.       We allege that it continued
 19   well into 2009.    And we have also addressed in our brief
 20   hypothetical facts that show why an injunction is necessary
 21   and proper in this case.
 22           THE COURT:     Well, let me back that up a little bit.
 23   Because even looking at those hypothetical facts,
 24   technically somebody could come into court and allege a set
 25   of things that might happen in the future, but don't they


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  1   have to have some basis in the present for this Court to
  2   take action?
  3             MS. SMITH:   Your Honor, no.     They don't have to have
  4   a basis in the present.      But what we have are allegations of
  5   conduct in the past and --
  6             THE COURT:   Eleven years ago, correct?
  7             MS. SMITH:   Yes, Your Honor.     And a real possibility
  8   that Navient is poised to engage in that conduct in the
  9   future.    It has said that it is poised to reenter the loan
 10   origination market when its noncompete agreement with Sallie
 11   Mae expires.
 12             THE COURT:   Well, and let me ask that.       But don't I
 13   have to presume, essentially, and I know this isn't a penal
 14   thing, but it would be essentially like saying, well, you're
 15   poised to be released from jail, so maybe I should just go
 16   ahead and have you arrested now so we can avoid any
 17   potential crimes in the future?
 18             MS. SMITH:   Well, that is sort of like probation,
 19   Your Honor.    You're getting out of jail.       I'm going to
 20   release you, but I need to put conditions on it because it
 21   is certainly possible that you could engage in this conduct
 22   in the future.
 23             And that's what an injunction is.       It doesn't stop
 24   Navient from engaging in loan origination.          It would stop
 25   Navient from engaging in the kinds of unfair deceptive acts


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  1   and practices that we have alleged that Navient has engaged
  2   in in the past and could very well, when it is released from
  3   its noncompete agreement, engage in in the future.
  4           So what an injunction will do is it will stop unfair
  5   deceptive acts or practices that could possibly occur.
  6           THE COURT:     But -- maybe I -- doesn't the law, as
  7   this Court has so far ruled in any prior motion, say that
  8   the CPA, the state CPA applies to Navient?          That they can't
  9   essentially run away from their obligations, duties, and
 10   responsibilities under the state Consumer Protection Act?
 11   Doesn't the law itself act as a bar from them engaging in
 12   those practices?
 13           MS. SMITH:     It does, Your Honor, but a lower bar.            A
 14   higher bar from -- an organization that we have alleged in
 15   the past engaged in significant unfair and deceptive loan
 16   origination practices should be held to a set of -- should
 17   be held to an injunction that can be enforced much more
 18   quickly for the benefit of the public than the State can
 19   investigate and file a lawsuit, a brand new lawsuit, under
 20   the Consumer Protection Act to once again prove that Navient
 21   engaged in conduct that we had alleged in this complaint,
 22   Your Honor.   That's why an injunction is so important.            It
 23   acts as sidebars on a company that we know has -- or we have
 24   alleged has engaged in these practices that, okay, you can't
 25   do these things anymore.      These things violate the Consumer


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  1   Protection Act.    You are enjoined from doing that.         Navient
  2   would not be enjoined from originating loans so long as
  3   those origination practices were not unfair or deceptive.
  4           And, Your Honor, you have the authority, you have
  5   the equitable power to place that injunction on Navient,
  6   should the State prove that it engaged in this conduct.
  7           THE COURT:     So -- and as we look at the Ralph
  8   Williams case, the big difference between the two that I'm
  9   seeing is that when this complaint was filed, those
 10   practices were not being engaged in at the time the
 11   complaint was filed.     In the Ralph Williams case, for
 12   example, the suit was filed, and then the practices were
 13   changed in, essentially, response to the lawsuit.           Does that
 14   change the burden that this Court has to look at in terms of
 15   finding a cognizable danger of recurrent violation?
 16           MS. SMITH:     No, it doesn't, Your Honor.        It doesn't
 17   change the standard for mootness at all.         It's the same.
 18   What it does change is that if Navient had changed its
 19   practices, had voluntarily stopped its practices after we
 20   filed the lawsuit, its burden would be a little bit heavier
 21   to show that there was -- that there is no cognizable
 22   danger, but it wouldn't be eliminated.
 23           Really, that's the touchstone.         Whether they stopped
 24   before we filed the lawsuit or they stopped after we filed
 25   the lawsuit, the touchstone is the same for mootness.              It


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  1   doesn't matter.
  2           It's also important to note that the state of New
  3   York had entered into an assurance of discontinuance with
  4   Navient in 2007 before we filed this lawsuit that addressed
  5   some of the practices that we allege in our lawsuit.               So
  6   there was a response in Navient's behavior to a state
  7   enforcement action, the state of New York.          And I would also
  8   note to the Court that we allege that some of those
  9   practices that Navient engaged in actually continued beyond
 10   even the New York assurance of discontinuance.          So that even
 11   -- that increases the necessity for an injunction in this
 12   case, that there needs to be more with a company like this
 13   to stop it from engaging in unfair practices.
 14           THE COURT:     And I know that we went backwards.
 15           MS. SMITH:     Yes.
 16           THE COURT:     And because the restitution issue is --
 17   I think everybody agrees married to the injunction issue, I
 18   think that those arguments kind of fold into each other.
 19           But let's address the statute of limitations.              And
 20   let's address the express versus general issues of statutory
 21   interpretation.
 22           MS. SMITH:     Yes, Your Honor, let's talk about that.
 23   That's very important, and it's key in this case.
 24           The LG Electrics decision, the state Supreme Court
 25   decided in LG Electrics and -- Electronics, and counsel read


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  1   part of the ruling.     I'll read the rest, Your Honor.            It
  2   says, we hold that when the attorney general enforces
  3   antitrust laws under RCW 1986 080, the exact same statute
  4   that we are proceeding under in this lawsuit, he or she acts
  5   in the name of or for the benefit of the State within the
  6   meaning of RCW 416 160.      In the absence of an express
  7   statute to the contrary, the State's action for injunctive
  8   relief and restitution pursuant to 080 is exempt from the
  9   statute of limitations in RCW 1986 120 that doesn't apply
 10   here.
 11            And this is the important part.        And from the
 12   general statutes of limitations in chapter 416 RCW.           Because
 13   in the LG Electronics case, the defendants had argued that
 14   other general statutes of limitation set forth in RCW 416
 15   put limitations -- put a statute of limitations on the
 16   State's ability to file that lawsuit.         Those were general
 17   statues of limitations, and the Court held that they didn't
 18   apply.   Because this statute was brought for the benefit in
 19   the name of the State, they didn't apply.
 20            RCW 416 100 subsection 2, the penalty statute of
 21   limitations that Navient is arguing, is also a general
 22   statute of limitations set forth in RCW 19 -- RCW 416.              The
 23   analysis that the Supreme Court engaged in in the LG
 24   Electronics case is equally applicable to that general
 25   statute of limitation as well.       And the Consumer Protection


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  1   Act does not include an express statute of limitation on
  2   attorney general actions to enforce 080.         It contains a
  3   separate statute of limitations on private parties when they
  4   seek to enforce -- when they bring their actions under 090.
  5   There is no express statute of limitations for -- that
  6   applies to the attorney general's actions under 090.
  7           And it also goes back -- and it ties in very nicely
  8   with the Supreme Court's decision in U.S. Oil that counsel
  9   also mentioned.    Because in that case, the Court was
 10   actually faced with 416 160 that said there is no statute of
 11   limitation against the State when it brings a case in the
 12   name or for the benefit of the State.         And this other
 13   statute of limitation with respect to penalty.          And what the
 14   Court looked at, it said, well, in order to give both of
 15   these statutes meaning, we're going to decide that the 160
 16   statute applies when statutes are remedial and the 19 -- or
 17   the 416 100 Subsection 2 statute of limitations on penalties
 18   applies when the statute is penal or criminal.
 19           The Consumer Protection Act is a remedial statute.
 20   All of the equitable remedies in the CPA are designed to
 21   protect the public.     They're not intended to punish
 22   everybody and anybody.      And those remedies work in tandem,
 23   sort of the first remedy, you know, for civil penalties,
 24   they operate first because they act to prevent violations of
 25   the CPA in the first place.         Injunctions stop or prohibit


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  1   the continuation of conduct that violates the CPA.           And
  2   restitution reestablishes the status quo.         They all work
  3   together.
  4             And another very important point to make is that in
  5   the Ralph Williams case, 82 Wn.2d 265, the Court held that
  6   the attorney general could sue for penalties alone under the
  7   Consumer Protection Act and asked for no other remedy, and
  8   this would further the CPA's beneficial purpose to protect
  9   the public and foster fair and honest competition.           The
 10   Federal Trade Commission, the federal court decisions
 11   interpreting the Federal Trade Commission action, which is
 12   the federal analog to the Consumer Protection Act, the
 13   federal courts repeatedly held that the FTC act is remedial
 14   and not penal.    The purpose -- and those statutes provide
 15   for penalties.    The purpose is to protect the public, not to
 16   punish.    Many states have also held that their Consumer
 17   Protection Acts that also provide for civil penalties are
 18   remedial and not penal in nature --
 19             THE COURT:   Punitive.
 20             MS. SMITH:   Punitive.    Yes.
 21             THE COURT:   Anything else that you wish to add with
 22   regards to these issues?
 23             MS. SMITH:   Well, Your Honor, the argument that
 24   Navient makes that this Court is precluded by a statute of
 25   limitations from imposing civil penalties, that this Court


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  1   is precluded from issuing an injunction, and this Court
  2   can't order restitution are arguments that limit this
  3   Court's equitable power.      The Court's equitable power needs
  4   to be very broad and flexible in cases like this when
  5   dealing with remedial statutes.       It shouldn't be -- it
  6   shouldn't be narrow and confined.
  7           And that is the -- that is really what's at bottom
  8   with Navient's argument, is an attempt to restrict the
  9   Court's equitable powers to deal with the kind of unfair and
 10   deceptive practices that we alleged in Count 1 of our
 11   complaint.
 12           THE COURT:     All right.    Thank you.     Rebuttal?      Five
 13   minutes.
 14           MR. SHUMSKY:     Thanks, Your Honor.      I'm going to try
 15   and do this in a lot less than five minutes.
 16           With respect to the State's characterization of LG
 17   Electronics as rejecting the argument that I made a little
 18   while ago is expressly rejected by LG Electronics itself.
 19   To the extent that the State has just taken the position
 20   that LG Electronics forecloses the application of the
 21   explicit statute of limitations on which our motion depends,
 22   Footnote 4 says we stress that our opinion is limited to the
 23   attorney general's 080 claims, insert some ellipses, for
 24   damages on behalf of state agencies and restitution for
 25   state consumers.    It specifically said we are not addressing


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  1   the attorney general's claims for civil penalties under the
  2   provision that's at issue here because that wasn't properly
  3   presented to the Court within the question recognized that
  4   there, in contrast to the provisions that were in front of
  5   the Court, there is an express statute of limitations.
  6           And to go back, the Court in U.S. Oil actually dealt
  7   with this very issue.     And I think I did a particularly
  8   lousy job a few minutes ago of explaining the penal remedial
  9   distinction in U.S. Oil.      But let me try that one more time,
 10   because I think it's directly relevant to what the State has
 11   just argued.
 12           The question in determining under U.S. Oil whether
 13   or not we're talking about something -- I'm going to talk
 14   about what that something is -- is penal or remedial turns
 15   not on sort of platitudes and generalities about what the
 16   purpose of a statute is, whether or not the purpose is to
 17   remediate or the purpose of the statute is to punish.              It
 18   turns on the nature of the relief, of the particular relief
 19   that's being sought.
 20           And the quotation that I read you before from the
 21   Washington Court of Appeals opinion in the U.S. Oil case,
 22   that the Supreme Court of Washington relied upon, makes that
 23   entirely clear.    That what matters is whether or not the
 24   relief being sought is penal or remedial.         I don't take any
 25   issue with the State's claim that restitution is a remedial


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  1   form of relief, that injunctive relief, if it's appropriate.
  2   I don't know that we need to talk about that anymore -- has
  3   a remedial purpose to it.      But we're not talking about that
  4   in the context of the statute of limitations argument.
  5           As I said before, this is separate.          The statute of
  6   limitations issue is specific to the civil penalties.              And
  7   civil penalties are just that.       They're penal.     They're not
  8   remedial in nature.     And saying that as a general matter of
  9   the Washington -- the Bureau pursuing a CPA claim means that
 10   what it's doing is remedial sort of is blind to the reality
 11   of what it's actually seeking in this case.          What U.S. Oil
 12   recognized a penalty is, and what LG Electronics both
 13   explicitly reserved on the one hand in Footnote 4 and on the
 14   other hand in its actual holdings, its interpretation of how
 15   you reconcile these provisions, says essentially the
 16   specific governs over the general.        And that's how to
 17   resolve these issues in our view.
 18           And I appreciate your indulgence while I try to
 19   redeem my otherwise flawed attempt to walk through that.
 20           THE COURT:     No.   It was fine.     Thank you.
 21           So as I indicated on the 12(c) issues, I'm going to
 22   issue an opinion in writing, because I imagine no matter
 23   what opinion I issue, I want to make sure that this record
 24   is a little bit more clear than mud and that the subsequent
 25   courts understand this Court's reasoning.         I am gone next


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  1   week, so it will not be in the very near future.           But look
  2   for it at least two weeks after that, so certainly by the
  3   middle of the next month.      Just kind of wanted to give you a
  4   time line.    Okay?    Anything else?
  5             MR. ROESCH:    Your Honor, just very briefly, we have
  6   a proposed order on the motion to compel.
  7             THE COURT:    Please pass that forward.
  8             MR. ROESCH:    It's the same one that we submitted
  9   before.    It just includes reference to the opposition --
 10             THE COURT:    And just so the parties understand,
 11   within the context of the orders, the opinion that I write,
 12   I will also include what adjudicative facts this Court is
 13   taking notice of.      Okay?
 14             MR. SHUMSKY:   And then, Your Honor, if I could, one
 15   thing about this order -- just on quick look, reserving my
 16   parties' right to address this, there's a blank for the
 17   number of days within which this information needs to be
 18   produced.    I don't know, as a practical matter, how quickly
 19   Navient can produce this information, but more important,
 20   this is something that is incredibly important to Navient.
 21             And our intention at this point, although I can't
 22   tell you we've made a decision about that, is at least we're
 23   going to be considering seeking interlocutory review of that
 24   order in front of the Court of Appeals --
 25             THE COURT:    So why don't I make it 30 days.


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  1            MR. SHUMSKY:    If you can make it 30 days, that will
  2   give us an opportunity to do what we need to do to seek
  3   appellate review if that's the decision that my client
  4   makes, but I'd be remiss not to ask for a little bit of time
  5   there.
  6            THE COURT:    Completely understood.       Any objection to
  7   days?
  8            MR. ROESCH:    I don't object to 30 days, Your Honor.
  9            THE COURT:    All right.    So 30 days.     Today is the
 10   21st.    Okay.
 11            MR. SHUMSKY:    Thank you so much, Your Honor.
 12            THE COURT:    If at some point you realize that it may
 13   take longer than 30 days, please just let the Court know and
 14   we can amend that if necessary.
 15            Thank you all.
 16            (Recording ends 11:25 a.m.)
 17
 18
 19
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 21
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  1
  2                         C E R T I F I C A T E
  3
  4    STATE OF WASHINGTON        )
  5    COUNTY OF KING             )
  6
  7               I, the undersigned, under my commission as a
  8   Notary Public in and for the State of Washington, do hereby
  9   certify that the foregoing audiotape, videotape, and/or
 10   hearing was transcribed under my direction as a
 11   transcriptionist; and that the transcript is true and
 12   accurate to the best of my knowledge and ability; and that I
 13   am not a relative or employee or any attorney or counsel
 14   employed by the parties hereto, nor financially interested
 15   in its outcome.
 16              IN WITNESS WHEREOF, I have hereunto set my hand
 17   and seal this 27th day of September, 2018.
 18
 19
 20                      /s/Grace Hitchman
 21                      Grace Hitchman, AAERT, CET-663
                         In and for the State of Washington,
 22                      residing at Seattle.
                         Commission expires April 27, 2020
 23
 24
 25


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          Exhibit B




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          Exhibit C




                              68
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             Trust Co., 61 F.3d 465 (1995)       Document 41 Filed 10/10/18 Page 69 of 78
32 Fed.R.Serv.3d 85, 1995 Fed.App. 0235P

                                                       Merritt, Chief Judge, filed a concurring opinion.

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Declined to Follow by In re JPMorgan Chase Mortg. 
Modification Litigation, D.Mass., November 27, 2012     West Headnotes (10)
                   61 F.3d 465
         United States Court of Appeals,
                  Sixth Circuit.                        [1]    Mandamus
                                                                  Matters of discretion
             In re BANKERS TRUST                               Mandamus review must be confined to
              COMPANY, Petitioner.                             matters of usurpation of judicial power
                                                               or clear abuse of discretion.
                   No. 95–3199.
                         |                                     5 Cases that cite this headnote
               Argued June 13, 1995.
                         |
                                                        [2]    Mandamus
               Decided Aug. 3, 1995.
                                                                  Presumptions and burden of proof
Synopsis                                                       Petitioner has burden of showing
Bank petitioned for writ of mandamus to                        that its right to issuance of writ of
vacate discovery order issued by the United                    mandamus is clear and undisputable.
States District Court for the Southern District
of Ohio, Carl B. Rubin, J., directing bank                     15 Cases that cite this headnote
to produce confidential information concerning
Federal Reserve examination for use against bank        [3]    Federal Civil Procedure
in pending suit alleging fraud, misrepresentation,                 Existence, possession, custody,
violations of Commodities Exchange Act, and                    control and location
various other causes of action arising from bank's             Parties in possession of documents
leveraged derivative transaction business. The                 forwarded to them by federal agency
Court of Appeals, Bailey Brown, Circuit Judge,                 have “possession, custody or control”
held that: (1) documents prepared by Federal                   within meaning of rule governing
Reserve and bank during bank examination were                  scope of discovery, notwithstanding
subject to discovery despite Federal Reserve's                 fact that agency retains ownership
ownership of documents, in light of apparent                   of documents and restricts disclosure
relevance of documents and fact that bank had                  by regulation. Fed.Rules Civ.Proc.Rule
possession of documents; (2) Federal Reserve                   34(a), 28 U.S.C.A.
regulation that precluded discovery of information
about bank examination exceeded authority of                   189 Cases that cite this headnote
Federal Reserve, was inconsistent with rule
governing scope of discovery, and could not be
                                                        [4]    Federal Civil Procedure
enforced; (3) qualified bank examination privilege
                                                                    Investigations, reports and records
existed but protected only deliberative material and
                                                               of in general
could be overridden upon showing of good cause;
and (4) bank examination privilege belonged to                 Privileged Communications and
Federal Reserve and, thus, Federal Reserve had to              Confidentiality
be allowed opportunity to assert privilege.                          Regulation of financial
                                                               institutions; bank examination
Petition granted in part, order vacated in part, and           privilege
case remanded with instructions.                               Documents prepared by Federal
                                                               Reserve and bank during Federal



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In re BankersCase  3:17-cv-01814-RDM
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       Reserve's examination of bank's
       leveraged     derivative   transaction           [7]   Finance, Banking, and Credit
       business were subject to discovery in                      Investigations and examinations
       action arising from bank's derivative                  Privileged Communications and
       contracts, despite Federal Reserve's                   Confidentiality
       ownership of documents, in light                             Regulation of financial
       of apparent relevance of documents,                    institutions; bank examination
       and in light of fact that bank had                     privilege
       possession of documents. Fed.Rules                     Bank examination privilege exists but
       Civ.Proc.Rule 34(a), 28 U.S.C.A.                       is only qualified, rather than absolute,
                                                              privilege which accords agency
       26 Cases that cite this headnote
                                                              opinions and recommendations, and
                                                              banks' responses thereto, protection
 [5]   Administrative Law and Procedure                       from disclosure in order to preserve
          Force of law                                        candor in communications between
       Administrative Law and Procedure                       bankers and examiners and thereby
          Enforcement                                         promote effective functioning of
                                                              agency.
       Federal regulations should be adhered
       to and given full force and effect of law              18 Cases that cite this headnote
       whenever possible and, thus, federal
       agency's regulation should be enforced
       as long as it is based upon permissible          [8]   Finance, Banking, and Credit
       construction of enabling statute.                          Investigations and examinations
                                                              Privileged Communications and
       4 Cases that cite this headnote                        Confidentiality
                                                                    Regulation of financial
 [6]   Finance, Banking, and Credit                           institutions; bank examination
           Federal Reserve System                             privilege

       Language      in     Federal     Reserve               Purely factual material falls outside
       regulation that required party served                  qualified bank examination privilege
       with subpoena, order, or other judicial                and must be produced if relevant, and
       process continually to decline to                      privilege's protection of deliberative
       disclose information or testimony                      material also may be overridden if good
       about Federal Reserve's examination                    cause is shown.
       of bank exceeded congressional
                                                              24 Cases that cite this headnote
       delegation of general or housekeeping
       authority to Federal Reserve, was
       plainly inconsistent with rule governing         [9]   Finance, Banking, and Credit
       scope of discovery, and could not be                       Investigations and examinations
       enforced. 5 U.S.C.A. § 301; Federal                    Privileged Communications and
       Reserve Act, § 11(i), 12 U.S.C.A. §                    Confidentiality
       248(i); Bank Holding Company Act of                          Regulation of financial
       1956, § 5(b), 12 U.S.C.A. § 1844(b);                   institutions; bank examination
       Fed.Rules Civ.Proc.Rule 34(a), 28                      privilege
       U.S.C.A.; 12 C.F.R. § 261.14.
                                                              In    determining     whether   bank
       21 Cases that cite this headnote                       examination     privilege   precludes
                                                              disclosure, court must balance
                                                              competing interests of party seeking


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        bank examination documents and
        those of government and, at minimum,            Opinion
        must consider relevance of evidence
        sought to be protected, availability of         BROWN, J., delivered the opinion of the court, in
        other evidence, seriousness of litigation       which MARTIN, J., joined. MERRITT, C.J. (p.
        and issues involved, role of government         472), delivered a separate concurring opinion.
        in litigation, and possibility of future
        timidity by government employees who            BAILEY BROWN, Circuit Judge.
        will be forced to recognize that their
        secrets are violable.                           The petitioner, Bankers Trust Company, the
                                                        defendant in a pending securities action, seeks a writ
        23 Cases that cite this headnote                of mandamus to vacate a discovery order directing
                                                        it to produce to the plaintiff, Procter and Gamble
                                                        Company, certain documents which constitute
 [10]   Finance, Banking, and Credit
                                                        or contain “confidential supervisory information”
            Federal Reserve System
                                                        under federal regulations promulgated by the
        Bank examination privilege belonged
                                                        Federal Reserve System. 1 Bankers Trust contends
        to Federal Reserve and, thus, if claim
                                                        that the discovery order is in error because: 1)
        of privilege was appropriate, Federal
                                                        Procter and Gamble Company failed to comply
        Reserve had to be allowed opportunity
                                                        with the clearly applicable governing regulations
        to assert privilege and opportunity to
                                                        of the Federal Reserve in attempting to obtain
        defend its assertion.
                                                        the documents from Bankers Trust, and 2) the
        12 Cases that cite this headnote                documents are, in any event, protected by the
                                                        Federal Reserve's bank examination privilege
                                                        which the district court refused to consider. We
                                                        grant the writ in part, vacate the discovery order,
                                                        and remand the case to the district court with
Attorneys and Law Firms
                                                        instructions.
 *466 Daniel J. Buckley, Vorys, Sater, Seymour
& Pease, Columbus, OH, Michael A. Cooper
(argued), Sullivan & Cromwell, New York City, for                              *467 I.
Bankers Trust Co.
                                                        The Procter and Gamble Company (“P & G”)
John D. Luken, Thomas S. Calder (argued),               sued Bankers Trust and BT Securities Corporation
Dinsmore & Stohl, Stanley M. Chesley (argued),          (collectively “Bankers Trust”), alleging fraud,
Waite, Schneider, Bayless & Chesley, Cincinnati,        misrepresentation, violations of the Commodities
OH, for Procter & Gamble Co.                            Exchange Act, and various other causes of action
                                                        arising from two derivative contracts entered into
Norman R. Nelson (briefed), New York Clearing
                                                        with Bankers Trust. P & G claims approximately
House Ass'n, New York City, for amicus curiae
                                                        $195 million in damages.
New York Clearing House Ass'n.

Richard Ashton (briefed), Federal Reserve Bd.,          The petition for writ of mandamus focuses on
Legal Div., Stephen L. Siciliano, Katherine H.          a single discovery issue in this litigation which
Wheatley (argued), Federal Reserve System, Bd.          is otherwise still in the discovery phase. At
of Governors, Washington, DC, for amicus curiae         issue is P & G's demand that Bankers Trust
Federal Reserve System.                                 produce all documents submitted to or received
                                                        from the Federal Reserve, including “any and
Before: MERRITT, Chief Judge; BROWN and                 all documents relating to any and all regulatory
MARTIN, Circuit Judges.                                 reports of examination and inspection which



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relate to or refer to Bankers Trust's [leveraged         under Rule 45 of the Federal Rules of Civil
                                   2
derivative transaction] Business.” Thus, P & G is        Procedure. 3 What a party may not do under the
seeking Federal Reserve examination reports and          procedures set out in the regulations, however, is
documents prepared by both the Federal Reserve           seek the documents from some other party without
and Bankers Trust during the examination process.        the Board's approval or permission. Likewise,
Bankers Trust contends that the documents P & G          any person or organization that has documents
seeks are property of the Federal Reserve Board          which may not be disclosed under these regulations
and that under the applicable Board regulations,         and is served with a “subpoena, order, or other
Bankers Trust is prohibited from disclosing the          judicial process ... requiring the production of
documents to P & G. Bankers Trust therefore              documents or information” is directed to promptly
contends that it has been thrust into an untenable       advise the Board's general counsel of such request
position. If it complies with the district court's       and must continually “decline to disclose the
order, it violates the Board's regulations prohibiting    *468 information....” 12 C.F.R. § 261.14. The
disclosure and risks criminal penalties. If, on the      Federal Reserve contends, in its amicus curiae
other hand, it does not comply with the court            brief, that the procedures set out in the regulations
order, it is subject to being held in contempt and       are the exclusive means of obtaining confidential
to possible sanctions under Rule 37 of the Federal       supervisory information.
Rules of Civil Procedure.
                                                         In this case, P & G made a discovery request
The relevant regulation in the instant case is           in which it asked for documents of Bankers
12 C.F.R. § 261 et seq. Section 261 first                Trust relating to its leveraged derivative business.
defines “confidential supervisory information” as,       Bankers Trust objected to the production of the
among other things, “reports of examination and          documents, relying on the regulations summarized
inspection” as well as “documents prepared by,           above. Unknown to Bankers Trust, P & G also
on behalf of, or for the use of the [Federal             had made a written request to the Federal Reserve
Reserve] Board, [or] a Reserve Bank....” 12 C.F.R.       Board, pursuant to § 261.13 of the regulations, for
§ 261.2(b). The regulations provide that such            the documents in question. The Board took the
information is and shall always remain “the              position that any report or document sent by the
property of the Board.” 12 C.F.R. § 261.11(g).           Federal Reserve to Bankers Trust as part of the
The regulations further provide the procedures           examination process, and any document created
to be followed to obtain access to confidential          by Bankers Trust and sent to the Federal Reserve
supervisory information. A person seeking access         as part of that process, constituted “confidential
shall file a written request with the general            supervisory information” which could not be
counsel of the Board of Governors of the Federal         disclosed by Bankers Trust. In a letter to P & G, the
Reserve System. 12 C.F.R. § 261.13(b). The general       Board denied P & G's request for the documents on
counsel may then approve the request if: 1) the          the ground that P & G had not shown a substantial
person making the request has shown a substantial        need for the information that outweighed the need
need for confidential supervisory information that       to maintain confidentiality. P & G took that letter
outweighs the need to maintain confidentiality;          to be an exhaustion of administrative remedies,
and 2) disclosure is consistent with the supervisory     and instead of then proceeding directly against the
and regulatory responsibilities and policies of the      Federal Reserve through a Rule 45 subpoena or
Board. 12 C.F.R. § 261.13(c). Making a request           FOIA action, it turned to the district court in which
under this section and a denial thereof is considered    its action against Bankers Trust was pending and
to be an exhaustion of administrative remedies           sought to compel production of the documents
for discovery purposes in any civil proceeding. 12       directly from Bankers Trust. P & G served a motion
C.F.R. § 261.13(d). If a party has exhausted such        to compel production upon Bankers Trust, and a
remedy to no avail, it may then file against the         telephonic conference on the motion was conducted
Federal Reserve either a Freedom of Information          by the district court. P & G advised the Board by
Act (FOIA) action or subpoena the documents              letter that this conference would be taking place.



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The Board, however, did not participate in the
conference.
                                                                               *469 II.

In the conference, the district court made it clear       [1]    [2] Mandamus review must be confined to
that the Federal Reserve's regulations could in          matters of usurpation of judicial power or clear
no way interfere with the normal operation of            abuse of discretion. Schlagenhauf v. Holder, 379
the judicial branch of government. To this end,          U.S. 104, 111, 85 S.Ct. 234, 238–39, 13 L.Ed.2d
the court concluded that it was not bound to             152 (1964). Thus, mandamus is not to be used to
follow the Board's regulations to the extent that        reverse a decision made by a court in the exercise
the regulations posed a barrier to the court's ability   of legitimate jurisdiction. In re Aetna Cas. & Sur.
to control discovery. Thus, because Bankers Trust        Co., 919 F.2d 1136, 1140 (6th Cir.1990) (en banc).
was in possession of the requested documents, the        Moreover, the petitioner has the burden of showing
court concluded that P & G could have discovery          that its right to the issuance of the writ is “clear and
of the documents from Bankers Trust. Moreover,           undisputable.” Federal Deposit Ins. Corp. v. Ernst
the district court did not analyze the documents         & Whinney, 921 F.2d 83, 86 (6th Cir.1990).
in question under the bank examination privilege
upon which Bankers Trust also relied, because, in
the court's opinion, the privilege “doesn't exist.”
On February 21, 1995, the district court entered                                  A.
an order granting P & G's request to compel
                                                         Bankers Trust notes that the Federal Reserve's
production of the documents. It ordered Bankers
                                                         regulations provide that the documents in question
Trust to produce three categories of documents: 1)
                                                         remain the property of its Board, that a party
all business records or other pre-existing documents
                                                         seeking those documents must request them
which Bankers Trust had submitted to the Board
                                                         directly from the Federal Reserve, and that
relating to the leveraged derivatives products
                                                         any organization or institution in possession
business; 2) all documents concerning the leveraged
                                                         of such documents, if called upon to produce
derivatives business prepared by Bankers Trust
                                                         them, shall decline to do so pursuant to the
relating to the examination process; and 3) the
                                                         regulations. Bankers Trust contends that because
Federal Reserve's examination reports relating to
                                                         the requested documents constitute or contain
the leveraged derivatives business. The first two
                                                         confidential supervisory material, P & G must
categories were to be turned over to P & G; the last
                                                         obtain them, if at all, from the Federal Reserve,
category was to be turned over to the district court
                                                         presumably in a separate action in a district
for in camera inspection.
                                                         court in Washington, D.C., rather than from
                                                         Bankers Trust. See, e.g., Colonial Sav. & Loan
Bankers Trust now objects to the production of           Ass'n v. St. Paul Fire & Marine Ins. Co., 89
the documents in the latter two categories, and          F.R.D. 481 (D. Kan.1980)(Regulations of Federal
claims that the order is clearly erroneous as a matter   Home Loan Bank Board held valid even though
of law. 4 First, Bankers Trust contends that the         court recognized some hardship in requiring the
Board's regulations prohibit it, in all events, from     relief to be sought in the District of Columbia
disclosing such documents and dictate that P &           where jurisdiction could be obtained). Bankers
G seek the documents in question directly from           Trust therefore contends that because the discovery
the Federal Reserve. Second, Bankers Trust alleges       order is plainly inconsistent with the governing
that the documents are protected under the Federal       regulations, it is erroneous as a matter of law
Reserve's bank examination privilege, a privilege        warranting mandamus relief.
the existence of which the district court refused to
recognize. As stated, the Federal Reserve has filed       [3]   [4] We disagree. As an initial matter, we
an amicus curiae brief in support of the petition for    point out that the discovery order is consistent
writ of mandamus. 5                                      with the requirements of Rule 34 of the Federal
                                                         Rules of Civil Procedure. Federal Rule 34(a)


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states that: “Any party may serve on any other            S.Ct. 2778, 81 L.Ed.2d 694 (1984). As long as the
party a request (1) to produce ... any designated         federal agency's *470 regulation is based upon a
documents ... or to inspect and copy, test, or            permissible construction of the enabling statute, the
sample any tangible things ... which are in the           regulation should be enforced. Id. The statutory
possession, custody or control of the party upon          authorities upon which the Federal Reserve relies,
whom the request is served.” FED.R.CIV.P.                 however, simply do not give it the power to
34(a)(emphasis added). Moreover, federal courts           promulgate regulations in direct contravention of
have consistently held that documents are deemed          the Federal Rules of Civil Procedure. Section
to be within the “possession, custody or control”         261 itself identifies as its statutory authority 12
for purposes of Rule 34 if the party has actual           U.S.C. § 248(i) and (k), and 5 U.S.C. § 552.
possession, custody or control, or has the legal right    The Federal Reserve also relies upon 5 U.S.C. §
to obtain the documents on demand. Resolution             301, and 12 U.S.C. § 1844(b). These statutes are
Trust Corp. v. Deloitte & Touche, 145 F.R.D. 108,         broad, general grants of authority. For example,
110 (D. Colo.1992); Weck v. Cross, 88 F.R.D. 325,         12 U.S.C. § 1844(b) authorizes the Board to
327 (N.D. Ill.1980). Thus, legal ownership of the         issue regulations “as may be necessary to enable
document is not determinative. In re Sunrise Sec.         [the Federal Reserve] to administer and carry
Litig., 109 B.R. 658, 661 (E.D.Pa.1990); Weck,            out the purposes of this chapter and prevent
88 F.R.D. at 327. It necessarily follows, then,           evasions thereof.” 12 U.S.C. § 248(i) provides that
that parties in possession of documents forwarded         the Board “shall perform the duties, functions,
to them by a federal agency have “possession,             or services specified in this chapter, and make
custody or control” within the meaning of Rule            all rules and regulations necessary to enable
34, notwithstanding the fact that the agency              said board effectively to perform the same.” 5
by regulation retains ownership and restricts             U.S.C. § 301, which is the most specific of the
disclosure. See Resolution Trust Corp., 145 F.R.D.        statutes, provides that the Federal Reserve may
at 110 (“Rule 34, which focuses on a party's              prescribe regulations “for the government of his
ability to obtain documents on demand ... is              [sic] department, the conduct of its employees, the
not affected by the [federal agency's] retention of       distribution and performance of its business, and
ownership or its unilaterally imposed restrictions on     the custody, use and preservation of its records,
disclosure.”)(emphasis added). Therefore, because         papers, and property.” Section 301, however,
Bankers Trust has possession of the documents in          is nothing more than a general housekeeping
question, and because they appear to be relevant,         statute and does not provide “substantive” rules
they are discoverable under the terms of Rule 34          regulating disclosure of government information.
and P & G should be entitled under that Rule to           Exxon Shipping Co. v. United States Dep't of
have discovery of those documents.                        Interior, 34 F.3d 774 (9th Cir.1994). In Exxon,
                                                          five federal agencies sought to prohibit their
We are confronted, however, with a situation in           employees from testifying in depositions, arguing
which the Board's regulations conflict with the           that § 301 authorized it to withhold documents
Federal Rules of Civil Procedure with respect to a        or testimony from federal courts. The court of
district court's authority, under the Federal Rules,      appeals disagreed. The court noted that according
to control discovery. Rule 34, as enforced through        to the legislative history, Congress was concerned
Rule 37, clearly authorizes the district court to order   that the statute had been “twisted from its original
Bankers Trust to turn over those documents in its         purpose as a ‘housekeeping’ statute into a claim
possession while the Board's regulations specifically     of authority to keep information from the public.”
prohibit such a disclosure.                               Id. at 777 (citation omitted). To correct the
                                                          situation, Congress amended the statute, adding the
 [5] At bottom, federal regulations should be             following sentence: “This section does not authorize
adhered to and given full force and effect of law         withholding information from the public or limiting
whenever possible. Chevron U.S.A., Inc. v. Natural        the availability of records to the public.” 5 U.S.C.
Resources Defense Council, Inc., 467 U.S. 837, 104        § 301. Thus, the court concluded that nothing in



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the text of the statute empowers a federal agency         objections to the subpoena before a D.C. district
to withhold documents or testimony from federal           court that may not be as fully informed of the
courts.                                                   underlying facts and circumstances of the case.
                                                          Thus, we hold that the district court's discovery
 [6]   We likewise conclude that Congress did             order was a legitimate exercise of jurisdiction under
not empower the Federal Reserve to prescribe              Rule 34 and Bankers Trust's first contention of
regulations that direct a party to deliberately           error is without merit.
disobey a court order, subpoena, or other
judicial mechanism requiring the production of
information. We therefore hold that the language
                                                                                   B.
in 12 C.F.R. § 261.14 that requires a party
that is served with a subpoena, order, or other           Having determined that the federal regulations
judicial process to continually decline to disclose       upon which Bankers Trust relies cannot divest
information or testimony exceeds the congressional        the district court of its authority to apply Rule
delegation of authority and cannot be recognized by       34 of the Federal Rules of Civil Procedure,
this court. 6 Such a regulation is plainly inconsistent   we now turn to Bankers Trust's second issue
with Rule 34 and cannot be enforced. To allow a           of whether the district court's treatment of the
federal regulation issued by an agency to effectively     bank examination privilege constitutes clear error
override the application of the Federal Rules of          warranting mandamus relief. Rule 26 of the Federal
Civil Procedure and, in essence, divest a court of        Rules of Civil Procedure provides that “[p]arties
jurisdiction over discovery, the enabling statute         may obtain discovery regarding any matter, not
must be more specific than a general grant of             privileged, which is relevant to the subject matter
authority as found here. Resolution Trust Corp.,          involved in the pending action.” FED.R.CIV.P.
145 F.R.D. at 111 (holding that the Federal               26(b)(1) (emphasis added). Bankers Trust contends
Rules of Civil Procedure cannot be abrogated              that the requested documents are protected from
by agency regulations); Merchants Nat'l Bank              disclosure by what is referred to as the bank
& Trust Co. v. United States, 41 F.R.D. 266,              examination privilege.
268 (D.N.D.1966)(“While the statute gives the
Secretary the right to restrict disclosure, judicial      In issuing the discovery order, the district
control over the evidence in a case cannot be             court stated, citing no authority, that the bank
abdicated to the caprice of executive officers.”);        examination privilege “doesn't exist.” Contrary to
Sperandeo v. Milk Drivers & Dairy Employees               the district court's belief, however, the privilege
Local Union No. 537, 334 F.2d 381, 383 (10th              does exist and warrants that the court apply
Cir.1964)(holding that federal agencies are bound         the appropriate test for determining whether
by discovery rules in the same manner as any other        the privilege should be honored or overridden.
litigant).                                                Schreiber v. Society for Sav. Bancorp, Inc., 11 F.3d
                                                          217 (D.C.Cir.1993); In re Subpoena Served Upon the
Moreover, we find no compelling reason to discard         Comptroller of the Currency, and the Secretary of
the relatively straightforward discovery methods          the Bd. of Governors of the Fed. Reserve Sys. (In re
outlined in the Federal Rules of Civil Procedure          Subpoena), 967 F.2d 630 (D.C.Cir.1992); Delozier v.
simply because the Federal Reserve has attempted          First Nat'l Bank, 113 F.R.D. 522 (E.D.Tenn.1986).
to mandate a different *471 procedure. It seems           We hold that this was clear error and a usurpation
illogical to this court to require P & G to initiate      of judicial power.
the much more cumbersome procedure of serving
a subpoena on the Federal Reserve in Washington,           [7] First and foremost, the bank examination
D.C. simply to enable P & G to obtain the same            privilege is a qualified rather than absolute
documents that defendant Bankers Trust possesses.         privilege which accords agency opinions and
P & G would incur needless delays with such               recommendations and banks' responses thereto
maneuvering and would be forced to litigate any           protection from disclosure. Schreiber, 11 F.3d



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at 220. The primary purpose of the privilege is          In this inquiry, the *472 court must balance
to preserve candor in communications between             the “competing interests” of the party seeking
bankers and examiners, which those parties               the documents and those of the government. At
consider essential to the effective supervision          minimum, the court must consider:
of banking institutions. The privilege is firmly
grounded in practical necessity. In re Subpoena,
967 F.2d at 633. As the court in In re Subpoena            1) the relevance of the evidence sought to be
explained:                                                 protected;

            Bank safety and soundness                        2) the availability of other evidence;
            supervision is an iterative
                                                             3) the ‘seriousness' of the litigation and the
            process of comment by the
                                                             issues involved;
            regulators and response by
            the bank. The success of the                     4) the role of the government in the litigation;
            supervision therefore depends                    and
            vitally upon the quality of
            communications between the                       5) the possibility of future timidity by
            regulated banking firm and                       government employees who will be forced to
            the bank regulatory agency....                   recognize that their secrets are violable.
            Because bank supervision
                                                            Schreiber, 11 F.3d at 220; In re Subpoena, 967
            is relatively informal and
                                                            F.2d at 634. While this list does not purport to
            more or less continuous,
                                                            be an exhaustive list of factors a court might
            so too must be the
                                                            consider, it is at least a floor upon which to
            flow    of    communication
                                                            balance sufficiently the competing interests of the
            between the bank and
                                                            parties and the federal agency.
            the regulatory agency. Bank
                                                         We therefore vacate the discovery order inasmuch
            management must be open
                                                         as the district court failed to weigh whether the
            and forthcoming in response
                                                         privilege should or should not be honored. On
            to the inquiries of bank
                                                         remand, the first task of the district court is to
            examiners, and the examiners
                                                         determine what documents, or portions thereof,
            must in turn be frank
                                                         are factual in nature. All factual material, if
            in expressing their concerns
                                                         relevant, must be produced to P & G. The district
            about the bank. These
                                                         court must then balance all relevant factors and
            conditions simply could
                                                         determine whether the privilege should be honored
            not be met as well if
                                                         or overridden as to all other information in the
            communications between the
                                                         documents in question. We also note that if the
            bank and its regulators were
                                                         privilege is overridden, the district court should
            not privileged.
                                                         consider other possible protective safeguards such
Id. at 634. Thus, the privilege is designed to promote   as redaction and protective orders to minimize any
the effective functioning of an agency by allowing       harm that might otherwise occur from disclosure.
the agency and the regulated banks the opportunity
to be forthright in all communications.               [10] As a final matter, we note that the district
                                                     court on remand must provide the Federal Reserve
 [8]    [9] As stated, however, the privilege is a with notice and allow the Federal Reserve the
qualified one. Purely factual material falls outside opportunity to intervene. The bank examination
the privilege, and if relevant, must be produced.    privilege belongs to the Federal Reserve, and
Id.; Schreiber, 11 F.3d at 220. Likewise, the        therefore, where a claim of the privilege is
privilege may be overridden as to its protection     appropriate, the Federal Reserve must be allowed
of deliberative material if good cause is shown. 7


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the opportunity to assert the privilege and the             coordinate Branch.” Mistretta v. United States, 488
opportunity to defend its assertion.                        U.S. 361, 382, 109 S.Ct. 647, 660, 102 L.Ed.2d
                                                            714 (1989). As Justice Brennan has observed,
We grant the petition for writ of mandamus in part,         “A Judiciary free from control by the Executive
vacate the discovery order, and remand the case to          and Legislature is essential if there is a right
the district court for further proceedings consistent       to have claims decided by judges who are free
with this opinion.                                          from potential domination by other branches of
                                                            government.” Marathon, 458 U.S. at 58, 102 S.Ct.
                                                            at 2865 (plurality opinion) (quoting United States
MERRITT, Chief Judge, concurring.                           v. Will, 449 U.S. 200, 217–18, 101 S.Ct. 471, 482,
I concur in full in the court's opinion, but                66 L.Ed.2d 392 (1980)). If Congress were to limit a
I would point out an additional consideration.              federal district judge's authority to order discovery
Even if Congress had given the Federal Reserve              according to the interest of the Federal Reserve,
Board specific statutory authority—which it                 the ability of a federal court to perform its most
certainly has not—to withhold documents that                basic function of deciding “cases and controversies”
contain “confidential supervisory information”              under Article III of the Constitution would be
under whatever circumstances the Board deems                notably impaired. Courts cannot fairly decide cases
appropriate (including a situation when a federal           if they cannot have access to the information needed
court had issued a Rule 37 discovery order), it             for a fair, objective decision. Even when National
is questionable whether such a statute would be             Security is at stake, federal *473 courts still
constitutional. The Supreme Court has indicated             review documents to determine whether disclosure
that delegations of rulemaking authority to Article         is warranted. See 18 U.S.C.App. §§ 1–16 (1994)
I agencies may implicate separation of powers               (Classified Information Procedures Act).
concerns. See Northern Pipeline Construction Co.
v. Marathon Pipe Line Co., 458 U.S. 50, 102 S.Ct.
                                                            All Citations
2858, 73 L.Ed.2d 598 (1982). As the Supreme
Court has noted “we have not hesitated to strike            61 F.3d 465, 32 Fed.R.Serv.3d 85, 1995 Fed.App.
down provisions of a law that ... undermine the             0235P
authority and independence of one or another


Footnotes
1     Pursuant to the discovery order, the documents were to be turned over on February 24, 1995. Because it
      appeared that the mandamus petition would be moot in the absence of a stay, however, a panel of this court
      issued a temporary stay until the mandamus petition is resolved.
2     The Federal Reserve is charged by Congress to prevent and/or remedy unsafe and unsound banking
      practices and to ensure economic stability. See 12 U.S.C. § 301. Thus, as a condition of membership in the
      Federal Reserve System, banks are subject to periodic supervisory inspections and examinations by the
      Federal Reserve. In the course of an annual examination of Bankers Trust, the Federal Reserve did engage
      in a particularized inquiry with respect to Bankers Trust's derivatives transactions business.
3     Rule 45 would presumably require P & G to serve a subpoena on the Federal Reserve in Washington, D.C.,
      directing the Federal Reserve to produce the relevant documents in its possession. The Federal Reserve, if
      it chose to do so, could then rely on any privileges it may be entitled to and litigate those objections before
      the district court in which the subpoena was filed.
4     Bankers Trust subsequently received the Federal Reserve's permission to produce the pre-existing business
      records provided by Bankers Trust to the Federal Reserve, i.e., the first category of documents. Bankers
      Trust, therefore, is not contesting paragraph 1 of the district court's order which had ordered Bankers Trust
      to produce such documents.
5     This court also granted the Federal Reserve permission to present a brief argument and to respond to
      questions at oral argument.




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6     We are by no means indicating that the other portions of § 261.14 are likewise unenforceable. To the
      contrary, we think it advisable if not necessary for a party in litigation that possesses “confidential supervisory
      information” to inform the Federal Reserve of any requests for production so the Federal Reserve will have
      notice and the opportunity to intervene and protect any interests, arguments, or concerns it may have.
7     The In re Subpoena case noted several examples when such a situation may arise, including, for
      example, exposing “government malfeasance,” In re Franklin Nat'l Bank Sec. Litig., 478 F.Supp. 577, 582
      (E.D.N.Y.1979), or when the government seeks justice between the litigants. Northrop Corp. v. McDonnell
      Douglas Corp., 751 F.2d 395, 407 (D.C.Cir.1984).


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